Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 1 of 76 PageID #: 271




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF INDIANA

 ____________________________________
                                     )
 UNITED STATES OF AMERICA,           )
                                     )
             and                     )
                                     )
 THE STATE OF INDIANA,               )
                                     )
                   Plaintiffs        )
                                     )
             v.                      )    Civil Action No. 3:20-cv-202-RLY-MPB
                                     )
 INDIANAPOLIS POWER & LIGHT          )
 COMPANY,                            )
                                     )
             Defendant.              )
 ____________________________________)


                               CONSENT DECREE
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 2 of 76 PageID #: 272




                                                       TABLE OF CONTENTS

 I.           JURISDICTION AND VENUE ...................................................................................... 4
 II.          APPLICABILITY ............................................................................................................ 4
 III.         DEFINITIONS ................................................................................................................. 5
 IV.          NOX EMISSIONS .......................................................................................................... 12
       A.   NOX Emission Rates and Controls ............................................................................................... 12
       B.   Annual Tonnage Limitation for NOX ........................................................................................... 14
       C.   Monitoring of NOX Emissions ..................................................................................................... 14
 V.           SO2 EMISSIONS ........................................................................................................... 14
       A.   SO2 Emission Rates and Controls ................................................................................................ 14
       B.   Annual Tonnage Limitation for SO2 ............................................................................................ 15
       C.   Monitoring of SO2 Emissions ...................................................................................................... 15
 VI.          PM EMISSIONS ............................................................................................................ 16
       A.   Optimization of PM Emission Controls ....................................................................................... 16
       B.   PM Emission Rates and Controls ................................................................................................. 17
       C.   PM Emissions Testing and Monitoring Requirements ................................................................. 17
 VII.         SULFURIC ACID EMISSIONS ................................................................................... 19
       A.   Sulfuric Acid Emission Rates and Controls ................................................................................. 19
       B.   Sulfuric Acid Stack Testing Requirements .................................................................................. 20
       C.   Reagent Injection Compliance Curve........................................................................................... 21
       D.   Recordkeeping ............................................................................................................................. 22
 VIII.        ALLOWANCE SURRENDER REQUIREMENTS...................................................... 22
       A.   Use and Surrender of NOX and SO2 Allowances.......................................................................... 22
       B.   Method for Surrender of NOX and SO2 Allowances..................................................................... 23
 IX.          SUPER-COMPLIANT NOX AND SO2 ALLOWANCES ............................................ 25
 X.           PROHIBITION ON NETTING CREDITS OR OFFSETS ........................................... 25
 XI.          ENVIRONMENTAL MITIGATION PROJECT .......................................................... 26
 XII.         CIVIL PENALTY .......................................................................................................... 28
 XIII.        SECTION 162(F)(2)(A)(II) IDENTIFICATION .......................................................... 29
 XIV.         STATE-ONLY ENVIRONMENTALLY BENEFICIAL PROJECT ........................... 30
 XV.          RESOLUTION OF CIVIL CLAIMS............................................................................. 32
 XVI.         PERIODIC REPORTING.............................................................................................. 34

                                                                            i
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 3 of 76 PageID #: 273




 XVII.      REVIEW AND APPROVAL OF SUBMITTALS ........................................................ 36
 XVIII.     STIPULATED PENALTIES ......................................................................................... 37
 XIX.       FORCE MAJEURE ....................................................................................................... 45
 XX.        DISPUTE RESOLUTION ............................................................................................. 48
 XXI.       PERMITS ....................................................................................................................... 50
 XXII.      INFORMATION COLLECTION AND RETENTION ................................................ 52
 XXIII.     NOTICES ....................................................................................................................... 54
 XXIV.      SALES OR TRANSFERS OF OPERATIONAL OR OWNERSHIP INTERESTS ..... 55
 XXV.       RETENTION OF JURISDICTION ............................................................................... 56
 XXVI.      MODIFICATION .......................................................................................................... 57
 XXVII. GENERAL PROVISIONS ............................................................................................ 57
 XXVIII. SIGNATORIES AND SERVICE .................................................................................. 59
 XXIX.      PUBLIC COMMENT/AGENCY REVIEW.................................................................. 59
 XXX.       TERMINATION ............................................................................................................ 60
 XXXI.      FINAL JUDGMENT ..................................................................................................... 61




                                                                     ii
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 4 of 76 PageID #: 274




        WHEREAS, Plaintiff, the United States of America (“the United States”), on behalf of the

 United States Environmental Protection Agency (“EPA”), and Plaintiff, the State of Indiana, by

 the authority of the Attorney General of Indiana, acting at the request of the Indiana Department

 of Environmental Management (“IDEM”) (collectively, “Plaintiffs”), are filing with this Consent

 Decree a Complaint for injunctive relief and civil penalties pursuant to Sections 113(b)(2) and 167

 of the Clean Air Act (“the Act”), 42 U.S.C. §§ 7413(b)(2) and 7477, and 326 Indiana

 Administrative Code (“IAC”) Sections 2 and 5, alleging that Defendant, Indianapolis Power &

 Light Company (“IPL” or “Defendant”), has violated the Prevention of Significant Deterioration

 (“PSD”) provisions of Part C of Subchapter I of the Act, 42 U.S.C. §§ 7470-7492, the

 Nonattainment New Source Review (“NNSR”) requirements of the Act, 42 U.S.C. §§ 7501-7515,

 the New Source Performance Standards (“NSPS”) of the Act, 42 U.S.C. § 7411, the requirements

 of Title V of the Act, 42 U.S.C. §§ 7661-7661f, and the federally enforceable Indiana State

 Implementation Plan (“Indiana SIP”);

        WHEREAS, EPA issued an Notice of Violation (“NOV”) to IPL on September 29, 2009,

 pursuant to Section 113(a) of the Act, 42 U.S.C. § 7413(a), alleging violations of the Act at several

 IPL plants, including the Petersburg Generating Station (“Petersburg Station”). The relevant

 violations alleged at the Petersburg Station include:

        (a)     the PSD provisions in Part C of Subchapter I of the Act, 42 U.S.C. § 7475, 40

 C.F.R. § 52.21;

        (b)     Title V of the Act, 42 U.S.C. §§ 7661-7661f; and

        (c)     the federally enforceable Indiana SIP, including 326 IAC 2-2-2(c) and 2-7;




                                                  1
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 5 of 76 PageID #: 275




        WHEREAS, EPA issued an NOV to IPL on September 23, 2015, pursuant to Section

 113(a) of the Act, 42 U.S.C. § 7413(a), alleging violations of the Act at the Petersburg Station,

 including:

        (a)       the NSPS at 42 U.S.C. § 7411 and 40 C.F.R. §§ 60.42(a)(2);

        (b)       the federally enforceable Indiana SIP, including 326 IAC 5-1-2; and

        (c)       the Indiana Department of Environmental Management (“IDEM”) Title V

              Operating Permit, Section C.2;

        WHEREAS, EPA issued an NOV to IPL on February 5, 2016, pursuant to Section 113(a)

 of the Act, 42 U.S.C. § 7413(a), alleging violations of the Act at the Petersburg Station, including:

        (a)       the PSD provisions in Part C of Subchapter I of the Act, 42 U.S.C. § 7475, 40

                  C.F.R. § 52.21;

        (b)       the NNSR requirements in Part D of Subchapter I of the Act, 42 U.S.C. §§ 7501-

                  7515;

        (c)       Title V of the Act, 42 U.S.C. §§ 7661-7661f;

        (d)       the NSPS at 42 U.S.C. § 7411 and 40 C.F.R. §§ 60.42(a)(2) and 60.43(a)(2); and

        (e)       the federally enforceable Indiana SIP, including 326 IAC 2-2-2(c), 2-2-8(b), 2-3

 and 5-1-2;

        WHEREAS, the United States provided IPL and the State of Indiana actual notice of the

 alleged violations and commencement of the action, in accordance with Section 113 of the Act, 42

 U.S.C. § 7413;

        WHEREAS, in the Complaint, Plaintiffs allege, inter alia, that IPL modified units at the

 Petersburg Station and failed to obtain the necessary permits and install the controls necessary

 under the Act to reduce sulfur dioxide (“SO2”), nitrogen oxides (“NOX”), particulate matter



                                                   2
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 6 of 76 PageID #: 276




 (“PM”) and/or sulfuric acid mist emissions, that such emissions damage human health and the

 environment, and that, as a result of Defendant’s actions, Defendant violated and continues to

 violate the PSD provisions of the Act, 42 U.S.C. § 7475 and the NNSR provisions of the Act, 42

 U.S.C. §§ 7501-7515;

         WHEREAS, in the Complaint, Plaintiffs allege, inter alia, that IPL violated and continues

 to violate the Indiana SIP, the NSPS and/or its Title V Permit by exceeding opacity limitations and

 emitting SO2 and/or PM in excess of the applicable opacity limits;

         WHEREAS, Plaintiffs’ Complaint alleges claims upon which relief can be granted against

 IPL under Sections 113, 165, and 167 of the Act, 42 U.S.C. §§ 7413, 7475, and 7477;

         WHEREAS, IPL has denied and continues to deny the violations alleged in the Complaint

 and the NOVs, and maintains that it has been and remains in compliance with the Act, federal

 implementing regulations and Indiana air regulations and statutes, including the Indiana SIP, and

 that it is not liable for civil penalties, injunctive or other relief, and states that it is agreeing to the

 obligations imposed by this Decree solely to avoid the costs and uncertainties of litigation and to

 improve the environment;

         WHEREAS, the Defendant has cooperated in the resolution of these matters;

         WHEREAS, Plaintiffs anticipate that the installation and operation of pollution control

 equipment pursuant to this Consent Decree will achieve significant reductions of SO2, NOX, and/or

 PM emissions and improve air quality; and

         WHEREAS, Plaintiffs and the Defendant (collectively “the Parties,” and each,

 individually, a Party) have agreed, and the Court by entering this Consent Decree finds, that this

 Consent Decree has been negotiated in good faith and at arms’ length; that this settlement is fair,

 reasonable, in the best interest of the Parties and the public, and is consistent with the goals of the



                                                      3
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 7 of 76 PageID #: 277




 Act and the Indiana SIP; and that entry of this Consent Decree without further litigation is the most

 appropriate means of resolving this matter;

        NOW, THEREFORE, without any admission by the Defendant, and without adjudication

 of or admission with respect to the violations alleged in the Complaint or the NOVs, it is hereby

 ORDERED, ADJUDGED, AND DECREED as follows:

  I.    JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this action, the subject matter herein, and the

 Parties consenting hereto, pursuant to 28 U.S.C. §§ 1331, 1345, 1355, and 1367, and Sections

 113 and 167 of the Act, 42 U.S.C. §§ 7413 and 7477. Venue is proper under Section 113(b) of

 the Act, 42 U.S.C. § 7413(b), and under 28 U.S.C. § 1391(b) and (c).

        2.      Solely for the purposes of this Consent Decree and the underlying Complaint,

 Defendant waives all objections and defenses that it may have to the Court’s jurisdiction over

 Defendant and to venue in this District. Defendant consents to and shall not challenge entry of

 this Consent Decree or this Court’s jurisdiction to enter and enforce this Consent Decree.

 II.    APPLICABILITY

        3.      Upon entry, the provisions of this Consent Decree shall apply to and be binding

 upon the Plaintiffs, the United States, including EPA, and the State of Indiana, including IDEM,

 and upon IPL, its successors and assigns, or other entities or persons otherwise bound by law.

        4.      IPL shall provide a copy of this Consent Decree to all officers, employees, and

 agents whose duties might reasonably include compliance with any provision of this Decree, as

 well as to all vendors, suppliers, consultants, contractors, agents, and any other companies or

 organizations retained to perform any of the work required by this Consent Decree.

 Notwithstanding any retention of contractors, subcontractors, or agents to perform any work



                                                  4
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 8 of 76 PageID #: 278




 required under this Consent Decree, IPL shall be responsible for ensuring that all work is

 performed in accordance with the requirements of this Consent Decree. In any action to enforce

 this Consent Decree, IPL shall not assert as a defense the failure of its officers, directors,

 employees, agents, or contractors to take actions necessary to comply with this Consent Decree,

 unless IPL establishes that such failure resulted from a Force Majeure Event, as defined in

 Section XIX (Force Majeure) of this Consent Decree.

III.    DEFINITIONS

        5.      Every term expressly defined by this Section shall have the meaning given that

 term herein. Every other term used in this Consent Decree that is also a term used under the Act

 or in a federal regulation implementing the Act shall mean in this Consent Decree what such

 term means under the Act or those regulations.

                a.      A “30-Day Rolling Average Emission Rate” for a Unit shall be expressed

        as lbs/mmBTU and calculated in accordance with the following procedure: first, sum the

        total pounds of the pollutant in question emitted from the Unit during an Operating Day

        and the previous twenty-nine (29) Operating Days, with such emissions being determined

        from data derived from CEMS installed and operated at the Unit; second, sum the total

        heat input to the Unit in mmBTU during the Operating Day and the previous twenty-nine

        (29) Operating Days; and third, divide the total number of pounds of the pollutant emitted

        during the thirty (30) Operating Days by the total heat input during the thirty (30)

        Operating Days. A new 30-Day Rolling Average Emission Rate shall be calculated for

        each new Operating Day. Each 30-Day Rolling Average Emission Rate shall include all

        emissions that occur during all periods within an Operating Day, including emissions

        from startup, shutdown, and Malfunction.



                                                   5
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 9 of 76 PageID #: 279




              b.         “Annual Tonnage Limitation” means the limitation on the number of tons

       of the pollutant (SO2 or NOX) that may be emitted from Units 1 through 4 at the

       Petersburg Station during the relevant calendar year (i.e., January 1 through December

       31), and shall include all emissions of the pollutant during all periods of operations,

       including startup, shutdown and Malfunction.

              c.         “Baghouse” means a full stream (fabric filter) particulate emissions

       control device.

              d.         “CEMS” or “Continuous Emission Monitoring System” means, for

       obligations involving the monitoring of NOX and SO2 emissions and stack gas volumetric

       flow rate under this Consent Decree, the devices defined in 40 C.F.R.§ 72.2.

              e.         “Clean Air Act” and “the Act” mean the federal Clean Air Act, 42 U.S.C.

       §§ 7401-7671q, and its implementing regulations.

              f.         “Consent Decree” and “Decree” mean this Consent Decree, including

       Appendix A, which is hereto incorporated into this Consent Decree.

              g.         “Continuous Operation” and “Continuously Operate” mean that when a

       pollution control technology or combustion control is required to be used at a Unit

       pursuant to this Consent Decree (including, but not limited to, a Baghouse, ESP, FGD

       system, LNB, OFA, Selective Catalytic Reduction device, Selective Non-Catalytic

       Reduction device and Sulfuric Acid Mitigation System), it shall be operated at all times

       that the Unit it serves is in operation, consistent with the technological limitations,

       manufacturers’ specifications, good engineering and maintenance practices, and good air

       pollution control practices for minimizing emissions (as defined in 40 C.F.R. § 60.11(d))

       for such equipment and the Unit.



                                                  6
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 10 of 76 PageID #: 280




               h.      “Date of Entry” means the date this Consent Decree is signed or otherwise

        approved in writing by the District Court Judge for the United States District Court for

        the Southern District of Indiana.

               i.      “Date of Lodging” means the date this Consent Decree is filed for lodging

        with the Clerk of the Court for the United States District Court for the Southern District

        of Indiana.

               j.      “Day” means calendar Day unless otherwise specified in this Consent

        Decree.

               k.      “Defendant” means the Indianapolis Power & Light Company or “IPL.”

               l.      “Emission Rate” means the number of pounds of pollutant emitted per

        million British thermal units of heat input (“lbs/mmBTU”), measured in accordance with

        this Consent Decree.

               m.      “EPA” means the United States Environmental Protection Agency.

               n.      “ESP” and “Electrostatic Precipitator” mean a device for removing

        particulate matter from combustion gases by imparting an electric charge to the particles

        and then attracting them to a metal plate or screen of opposite charge before the

        combustion gases are exhausted to the atmosphere.

               o.      “Flue Gas Desulfurization System” and “FGD” mean an air pollution

        control device that removes sulfur compounds from a flue gas stream, including an

        absorber or absorbers utilizing lime, limestone, or a sodium-based slurry, for the

        reduction of sulfur dioxide emissions.

               p.       “Fossil Fuel” means any hydrocarbon fuel, including coal, petroleum

        coke, petroleum oil, fuel oil, and natural gas.



                                                  7
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 11 of 76 PageID #: 281




               q.       “Indiana SIP” means the Indiana state implementation plan approved and

        enforceable by EPA under Section 110 of the Act.

               r.      “IPL” means the Indianapolis Power & Light Company.

               s.      “lbs/mmBTU” means pounds of a pollutant per million British thermal

        units of heat input.

               t.       “Low NOX Burner,” or “LNB” means combustion modification

        technology that minimizes NOX formation by introducing coal and combusting air into a

        boiler such that initial combustion occurs in a manner that promotes rapid coal de-

        volatilization in a fuel-rich (i.e. oxygen deficient) environment and introduces additional

        air to achieve a final fuel-lean (i.e. oxygen rich) environment to complete the combustion

        processes.

               u.      “Malfunction” means any sudden, infrequent, and not reasonably

        preventable failure of air pollution control equipment, process equipment, or a process to

        operate in a normal or usual manner. Failures that are caused in part by poor

        maintenance or careless operation are not Malfunctions.

               v.       “MW” means a megawatt or one million watts.

               w.      “National Ambient Air Quality Standards” and “NAAQS” mean the

        national ambient air quality standards that are promulgated pursuant to Section 109 of the

        Act, 42 U.S.C. § 7409.

               x.      “New Source Performance Standard” and “NSPS” mean the standard of

        performance for new stationary sources air quality program under Part A, Subchapter I of

        the Act, 42 U.S.C. § 7411, and 40 C.F.R. Part 60.




                                                 8
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 12 of 76 PageID #: 282




                y.      “Nonattainment New Source Review” and “Nonattainment NSR” mean

        the nonattainment area NSR program within the meaning of Part D of Subchapter I of the

        Act, 42 U.S.C. §§ 7501-7515, and 40 C.F.R. Part 51, as well as any Nonattainment NSR

        provisions of the Indiana SIP.

                z.     “NOVs” means collectively and only to the extent each applies to the

        Petersburg Station: (i) February 5, 2016 Notice and Finding of Violation issued by EPA

        to Indianapolis Power and Light Company, (ii) September 23, 2015 Notice and Finding

        of Violation issued by EPA to Indianapolis Power and Light Company, (iii) and

        September 29, 2009 Notice and Finding of Violation issued by EPA to Indianapolis

        Power & Light Company.

                aa.    “NOX” means oxides of nitrogen.

                bb.    “NOX Allowance” means an authorization to emit a specified amount of

        NOX that is allocated or issued under an emissions trading or marketable permit program

        of any kind established under the Clean Air Act or the Indiana SIP; provided, however,

        that with respect to any such program that first applies to emissions occurring after

        December 31, 2018, a “NOx Allowance” shall include an allowance created and allocated

        under such program only for control periods starting on or after the first anniversary of

        the Date of Entry of this Consent Decree.

                cc.    “Over- Fired Air” and “OFA” mean an in-furnace staged combustion

        control to reduce NOX emissions.

                dd.    “Operating Day” means any calendar day during which a Unit fires Fossil

        Fuel.




                                                 9
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 13 of 76 PageID #: 283




               ee.     “Operational or Ownership Interest” means part or all of IPL’s legal or

        equitable operational or ownership interest in any Unit at the Petersburg Station.

               ff.     “Parties” means the United States, including the EPA and the United

        States Department of Justice, the State of Indiana, including the Indiana Attorney General

        and IDEM, and IPL.

               gg.     “Petersburg Station” means, for purposes of this Consent Decree, only the

        four coal-fired Units designated as Petersburg Unit 1 (229 MWnet), Petersburg Unit 2

        (412 MWnet), Petersburg Unit 3 (540 MWnet) and Petersburg Unit 4 (530 MWnet) and

        located near Petersburg, Indiana.

               hh.     “Plaintiff(s)” means the United States, including the EPA and the United

        States Department of Justice, and the State of Indiana, including the Indiana Attorney

        General and IDEM.

               ii.     “PM” means particulate matter.

               jj.     “PM Continuous Emission Monitoring System” and “PM CEMS” mean

        the equipment that samples, analyzes, measures, and provides, by readings taken at

        frequent intervals, an electronic record of PM emissions.

               kk.     “PM Emission Rate” means the number of pounds of PM emitted per

        million BTU of heat input (“lbs/mmBTU”).

               ll.     “PSD” means Prevention of Significant Deterioration program within the

        meaning of Part C of Subchapter I of the Clean Air Act, 42 U.S.C. §§ 7470-7492, and 40

        C.F.R. Part 52, as well as any PSD provisions of the Indiana SIP.

               mm.     “Retire” means to permanently shut down and cease to operate the Unit,

        and to comply with applicable state and federal requirements for permanently ceasing



                                                10
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 14 of 76 PageID #: 284




        operation of the Unit, including removing the Unit from Indiana’s air emissions

        inventory, and amending all applicable permits so as to reflect the permanent shutdown

        status of such Unit.

                 nn.   “Selective Catalytic Reduction System” or “SCR” means an air pollution

        control device for reducing NOx emissions in which ammonia (NH3) is added to the flue

        gas stream and then passed through layers of a catalyst material. The ammonia and NOx

        in the flue gas stream react on the surface of the catalyst, forming nitrogen (N2) and water

        vapor.

                 oo.   “Selective Non-Catalytic Reduction System” or “SNCR” means an air

        pollution control process for the reduction of NOX emissions through the injection of

        ammonia or urea into the flue gas stream.

                 pp.   “SO2” means sulfur dioxide.

                 qq.   “SO2 Allowance” means an authorization to emit a specified amount of

        SO2 that is allocated or issued under an emissions trading or marketable permit program

        of any kind established under the Clean Air Act or the Indiana SIP; provided, however,

        that with respect to any such program that first applies to emissions occurring after

        December 31, 2018, an “SO2 Allowance” shall include an allowance created and

        allocated under such program only for control periods starting on or after the first

        anniversary of the Date of Entry of this Consent Decree.

                 rr.    “State” means the State of Indiana, including but not limited to the

        Indiana Department of Environmental Management and the Indiana Attorney General.

                 ss.   “Sulfuric Acid Emission Rate” means the rate of sulfuric acid vapor or

        mist (including sulfur trioxide) emitted in lbs/mmBTU, in terms of H2SO4.



                                                 11
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 15 of 76 PageID #: 285




                tt.       “Sulfuric Acid Mitigation System” means a sulfuric acid control system

         consisting of the injection of a reagent into the flue gas stream to react with the acid gases

         and reduce the outlet Sulfuric Acid Emissions Rate.

                uu.       “Surrender” means permanently surrendering NOX or SO2 Allowances

         from the accounts administered by U.S. EPA and the State of Indiana, if applicable, so

         that such NOX or SO2 Allowances can never be used thereafter to meet any compliance

         requirement under the Clean Air Act, the Indiana SIP, or this Consent Decree.

                vv.       “Title V Permit” means the permit required for the Petersburg Station’s

         major sources under Subchapter V of the Act, 42 U.S.C. §§ 7661-7661e.

                ww.       “Unit” means, collectively, the coal pulverizer, stationary equipment that

         feeds coal to the boiler, the boiler that produces steam for the steam turbine, the steam

         turbine, the generator, equipment necessary to operate the generator, steam turbine and

         boiler, and all ancillary equipment, including pollution control equipment, at or serving a

         coal-fired steam electric generating unit. An electric steam generating station may

         comprise one or more Units.

 IV.     NOX EMISSIONS

  A. NOX Emission Rates and Controls

         6.     By no later than July 1, 2023, IPL shall install an SNCR at Unit 4 at the

  Petersburg Station.

         7.         If IPL Retires Units 1 and 2 before the SNCR is scheduled to be installed

  pursuant to Paragraph 6 above, IPL is released from the obligation set forth in Paragraph 6 above

  and the Unit 4 SNCR 30-Day Rolling Average NOx Emission Rate set forth in Paragraph 8,

  Table 1, below.



                                                   12
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 16 of 76 PageID #: 286




          8.      Commencing on the dates set forth in Table 1 below and continuing thereafter,

  IPL shall Continuously Operate the NOX control technologies listed below at each Unit at the

  Petersburg Station at all times the Unit is operating and shall achieve and maintain the 30-Day

  Rolling Average Emission Rate as set forth in Table 1, below by the dates specified.

  Table 1: NOX Emission Rates, Controls and Compliance Dates

   Unit                Control Technology         30-Day Rolling Average         Date required to
                                                  Emission Rate                  meet 30-Day
                                                  (lbs/mmBTU)                    Rolling Average
                                                                                 Emission Rate
   Unit 1               LNB/OFA                               0.220               45 Days after
                                                                                 Signature
   Unit 2              LNB/OFA/SCR                            0.100               45 Days after
                                                                                 Signature
   Unit 3              SCR                                    0.100              45 Days after
                                                                                 Signature
   Unit 4              LNB/OFA                                0.260              Date of Entry
                       SNCR                                   0.190              July 1, 2023

          9.     During any 30-Day period used to calculate a 30-Day Rolling Average Emission

  Rate for NOX for Petersburg Unit 2 or Unit 3, if either Unit requires operation of such Unit(s) at

  a load level that results in flue gas temperature so low that it becomes technically infeasible to

  Continuously Operate the SCR despite IPL’s best efforts to do so (including, but not limited to,

  maintaining minimum load operation which provides for achieving sufficient inlet temperatures

  for injection of ammonia to the SCR), then IPL shall meet an alternative 30-Day Rolling

  Average Emission Rate for NOX of 0.110 lbs/mmBTU provided that, within 14 days of such

  event, IPL provides EPA and IDEM with:

                 a.      detailed data and calculations to demonstrate that, but for such low load

          operation, IPL would have achieved and maintained a 30-Day Rolling Average Emission

          Rate for NOX of no greater than 0.100 lbs/mmBTU at such Unit(s); and



                                                   13
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 17 of 76 PageID #: 287




                   b.     a description of IPL’s efforts to minimize NOx emissions during this

         period.

  B. Annual Tonnage Limitation for NOX

         10.       Commencing in calendar year 2019, IPL shall operate the coal-fired Units 1

  through 4 at Petersburg Station so the Units combined do not emit NOx in excess of an Annual

  Tonnage Limitation of 9,000 tons per year.

         11.       Commencing in calendar year 2021 and continuing thereafter, IPL shall operate

  the coal-fired Units 1 through 4 at Petersburg Station so the Units combined do not emit NOX in

  excess of an Annual Tonnage Limitation of 8,500 tons per year.

  C. Monitoring of NOX Emissions

        12.        In determining a 30-Day Rolling Average Emission Rate for NOX, IPL shall use

  NOx emissions data obtained from a CEMS in accordance with the procedures of 40 C.F.R. Part

  75, except that the missing data substitution procedures of 40 C.F.R. Part 75 shall not apply to

  such determinations. Diluent capping (i.e., 5% CO2) will be applied to the NOx emission rate for

  any hours where the measured CO2 concentration is less than 5% following the procedures in 40

  C.F.R. Part 75, Appendix F, Section 3.3.4.1.

        13.        For purposes of calculating the Annual Tonnage Limitation for NOX, IPL shall

  use CEMS in accordance with the procedures specified in 40 C.F.R. Part 75 with the

  modifications in Paragraph 12.

  V.     SO2 EMISSIONS

  A. SO2 Emission Rates and Controls

         14.       Commencing on the dates set forth in Table 2 below and continuing thereafter,

  IPL shall Continuously Operate the wet FGDs at each Unit at the Petersburg Station at all times



                                                  14
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 18 of 76 PageID #: 288




  the Unit is operating and shall achieve and maintain the 30-Day Rolling Average Emission Rate

  as set forth in Table 2, below by the dates specified.

  Table 2: SO2 Emission Rates, Controls, and Compliance Dates

   Unit                Control Technology         30-Day Rolling Average       Date required to
                                                  Emission Rate                meet 30-Day
                                                  (lbs/mmBTU)                  Rolling Average
                                                                               Emission Rate
   Unit 1               wet FGD                             0.090              45 Days after
                                                                               Signature
   Unit 2              wet FGD                              0.090                45 Days after
                                                                               Signature
   Unit 3              wet FGD                              0.230                45 Days after
                                                                               Signature
   Unit 4              wet FGD                              0.210               45 Days after
                                                                               Signature



  B. Annual Tonnage Limitation for SO2

          15.   Commencing in calendar year 2019 and continuing thereafter, IPL shall operate

  the coal-fired Units 1 through 4 at the Petersburg Station so the Units combined do not emit SO2

  in excess of an Annual Tonnage Limitation of 10,100 tons per year.

  C. Monitoring of SO2 Emissions

          16.   In determining a 30-Day Rolling Average Emission Rate for SO2, IPL shall use

  SO2 emissions data obtained from a CEMS in accordance with the procedures of 40 C.F.R. Part

  75, except that the missing data substitution procedures of 40 C.F.R. Part 75 shall not apply to

  such determinations. Diluent capping (i.e., 5% CO2) will be applied to the SO2 emission rate for

  any hours where the measured CO2 concentration is less than 5% following the procedures in 40

  C.F.R. Part 75, Appendix F, Section 3.3.4.1.




                                                   15
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 19 of 76 PageID #: 289




         17.    For purposes of calculating any Annual Tonnage Limitation for SO2, IPL shall use

  CEMS in accordance with the procedures specified in 40 C.F.R. Part 75, with the modifications

  in Paragraph 16.

 VI.     PM EMISSIONS

  A. Optimization of PM Emission Controls

         18.     Commencing on the Date of Entry and continuing thereafter, IPL shall

  Continuously Operate the ESPs or Baghouses on each Unit at the Petersburg Station, as

  applicable and as listed below under Control Technology in Table 3, in a manner consistent with

  good air pollution control practice for minimizing PM emissions at all times when the Unit is in

  operation. Except as required during correlation testing under 40 C.F.R. Part 60, Appendix B,

  Performance Specification 11, and Quality Assurance Requirements under Appendix F,

  Procedure 2, as required by this Consent Decree, IPL shall, at a minimum, ensure that to the

  extent reasonably practicable: (a) each section of the ESP for each unit is fully energized and

  each compartment of each Baghouse at each Unit remains operational, (b) the automatic control

  systems on each ESP at each Unit are operated to maximize PM collection efficiency; (c) the

  power levels delivered to each ESP at each Unit are maintained, where applicable, consistent

  with manufacturers’ specifications, the operational design of the Unit, and good engineering

  practices; (d) ESP casings, ductwork and expansion joints in each Unit are inspected and

  repaired during the next planned Unit outage (or unplanned outage of sufficient length) to

  minimize air leakage; (e) the plate-cleaning and discharge-electrode-cleaning systems for each

  ESP at each Unit is optimized by varying the cycle time, cycle frequency, rapper-vibrator

  intensity, and number of strikes per cleaning event; and (f) for each such Unit with one or more




                                                  16
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 20 of 76 PageID #: 290




  Baghouses, a bag leak detection program is developed and implemented to ensure that leaking

  bags are promptly replaced.

  B. PM Emission Rates and Controls

          19.    Commencing on the Date of Entry and continuing thereafter, IPL shall achieve

  and maintain the filterable PM Emission Rate as set forth in Table 3, below.

  Table 3: PM Emission Rates and Controls

   Unit                Control Technology        Emission Rate
                                                 (lbs/mmBtu)

   Unit 1              ESP                                  0.030

   Unit 2              Baghouse                             0.015

   Unit 3              Baghouse                             0.015

   Unit 4              ESP                                  0.030



  C. PM Emissions Testing and Monitoring Requirements

          20.    Within six (6) months after the Date of Entry of this Decree and continuing in

  each calendar year thereafter, IPL shall conduct a stack test on each Unit at the Petersburg

  Station. IPL may seek EPA's approval pursuant to Section XVII (Review and Approval of

  Submittals) of this Consent Decree to forego filterable PM stack testing and instead demonstrate

  compliance with an applicable filterable PM Emission Rate using CEMS on a 3-hour rolling

  average emission rate basis.

          21.    To determine compliance with the filterable PM Emission Rate established in

  Paragraph 19 above, IPL shall use the method as specified in 40 C.F.R. Part 63, Subpart

  UUUUU, Table 5(1)(e) (filterable portion only) or a PM stack testing method specified in and

  allowed by applicable Indiana SIP provision(s), unless EPA approves a request to demonstrate

                                                  17
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 21 of 76 PageID #: 291




  continuous compliance with a filterable PM Emission Rate using PM CEMS under the preceding

  Paragraph 20. Each test shall consist of three separate runs performed under representative

  operating conditions not including periods of startup, shutdown, or Malfunction. The sampling

  time for each run shall be at least 60 minutes and the volume of each run shall be at least 0.85

  dry standard cubic meters (30 dry standard cubic feet). IPL shall calculate the PM Emission

  Rate from the stack test results in accordance with 40 C.F.R. § 60.8(f). The results of each PM

  stack test shall be submitted to EPA and IDEM within sixty (60) Days following completion of

  such test.

          22.    Commencing in the first full calendar year after the Date of Entry of the Decree,

  and continuing in each calendar year thereafter, IPL shall conduct a PM stack test for

  condensable PM on each Unit at the Petersburg Station using the reference methods and

  procedures set forth at 40 C.F.R. Part 51, Appendix M, EPA Method 202. Each test shall consist

  of three separate runs performed under representative operating conditions not including periods

  of startup, shutdown, or Malfunction. The sampling time for each run shall be at least 60

  minutes and the volume of each run shall be at least 0.85 dry standard cubic meters (30 dry

  standard cubic feet). IPL shall calculate the number of pounds of condensable PM emitted per

  million BTU of heat input (lb/mmBTU) from the stack test results in accordance with 40 C.F.R.

  § 60.8(f). The results of the PM stack test conducted pursuant to this Paragraph shall not be used

  for the purpose of determining compliance with the PM Emission Rates required by this Consent

  Decree. The results of each PM stack test shall be submitted to EPA and IDEM within sixty (60)

  Days following completion of such test.

          23.    IPL may perform filterable and condensable PM testing every other year, rather

  than every year, provided that the two most recently completed stack test results conducted in



                                                  18
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 22 of 76 PageID #: 292




  accordance with the methods and procedures specified in this Consent Decree demonstrate that

  the filterable PM emissions are equal to or less than 0.015 lb/mmBTU for those Units with an

  Electrostatic Precipitator and 0.0075 lb/mmBTU for those Units with a Baghouse. IPL shall

  perform testing every year, rather than every other year, beginning in the year immediately

  following any test result demonstrating that the filterable PM emissions are greater than 0.015

  lb/mmBTU for those Units with an Electrostatic Precipitator or 0.0075 lb/mmBTU for those

  Units with a Baghouse.

         24.     Nothing in this Consent Decree is intended to, or shall, alter or waive any

  applicable law (including but not limited to any defenses, entitlements, challenges, or

  clarifications related to the Credible Evidence Rule, 62 Fed. Reg. 8314 (Feb. 24, 1997))

  concerning the use of data for any purpose under the Act.

 VII.    SULFURIC ACID EMISSIONS

  A. Sulfuric Acid Emission Rates and Controls

         25.     Commencing thirty (30) days after the Date of Entry and continuing thereafter,

  IPL shall Continuously Operate the Sulfuric Acid Mitigation System at each Unit at the

  Petersburg Station at all times the unit is operating.

         26.     Commencing within nine (9) months after the Date of Entry and continuing

  thereafter, IPL shall achieve and maintain the Sulfuric Acid Emission Rates as set forth in Table

  4 below.

         27.      To determine compliance with the Sulfuric Acid Emissions Rates in Table 4, IPL

  shall conduct stack testing in accordance with Subsection B below.




                                                    19
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 23 of 76 PageID #: 293




  Table 4: Sulfuric Acid Emission Rates

   Unit                 Unit Emission Rate
                        (lbs/mmBTU)

   Unit 1                           0.008

   Unit 2                           0.007

   Unit 3                           0.007

   Unit 4                           0.008



  B. Sulfuric Acid Stack Testing Requirements

            28.   Within nine (9) months after the Date of Entry of this Consent Decree and in each

  calendar year thereafter, IPL shall conduct a stack test for sulfuric acid on each unit at the

  Petersburg Station.

            29.   In conducting the stack test, IPL shall use the reference methods and procedures

  specified in 40 C.F.R. Part 60, Appendix A-4, EPA Conditional Test Method (CTM) 013 with

  ion chromatography or an alternative reference method or procedure requested by IPL and

  approved by EPA in accordance with Section XVII (Review and Approval of Submittals). Each

  stack test shall be conducted isokinetically at a location in the stack where the gas velocity is

  average and the sampling rate is the same approximate linear velocity as the gas going up the

  stack. IPL must verify that the stack configuration is such that stack flue gases are not stratified

  at the sampling location. If stack flue gases are stratified, then IPL must consider and propose an

  alternative test methodology to be approved by EPA.

            30.   At least ninety (90) Days prior to conducting the first Sulfuric Acid stack test, IPL

  shall submit a test protocol (using EPA GD-042) to EPA for approval pursuant to Section XVII

  (Review and Approval of Submittals) identifying: (1) the date the test is scheduled to occur; (2)


                                                    20
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 24 of 76 PageID #: 294




  the proposed testing methodologies to be utilized; (3) the Unit operating loads proposed for the

  high, mid, and low load ranges; (4) the anticipated reagent injection rates/locations and the basis

  for such rates/locations; and (5) other operating conditions expected to be utilized for the testing

  (including, but not limited to, flue gas temperature at probe, flue gas temperature at air heater,

  and efforts made to maintain sampling line at correct temperature). All stack tests shall be

  conducted pursuant to a protocol submitted and approved under this Paragraph, except as

  provided for in Paragraph 31, below.

         31.    If IPL elects to conduct a stack test under a protocol different from a protocol

  previously submitted under Paragraph 30 and approved by EPA, then within ninety (90) Days

  prior to conducting such stack test, IPL shall submit a new protocol to EPA for approval

  pursuant to Section XVII (Review and Approval of Submittals) identifying the enumerated items

  in Paragraph 30, above. All stack tests shall be conducted while the SCR is operating (if the unit

  has an SCR installed).

         32.    The results of each stack test shall be reported in lbs/mmBTU in terms of H2SO4

  and ppmvd and consist of three separate runs each performed under the approved protocol. The

  flow rates shall also be reported with the results of each test. IPL shall calculate the Sulfuric

  Acid Emissions Rate from the stack test results in accordance with 40 C.F.R. § 60.8(f). The

  results of each sulfuric acid stack test shall be submitted to EPA and IDEM within sixty (60)

  Days of completion of each test.

  C. Reagent Injection Compliance Curve

         33.    Within sixty (60) Days after the completion of each sulfuric acid stack test under

  this Decree IPL shall develop a Sulfuric Acid Mitigation System Reagent Injection Compliance

  Curve that corresponds to the reagent and reagent injection rates utilized during the last



                                                   21
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 25 of 76 PageID #: 295




  successfully demonstrated compliant stack test, and include such curve as part of the stack test

  report submitted in accordance with Paragraph 32 above.

         34.      After completing the requirements of Paragraph 33, at all times that each unit at

  the Petersburg Station is in operation, IPL shall maintain a level at or above the reagent

  concentration (e.g., molar ratio) and reagent injection rate (based on a 24-hour rolling average

  injection rate) that corresponds to the operating load on the Reagent Injection Compliance Curve

  developed in Paragraph 33.

         35.       If at any time IPL makes a material change to either (a) the configuration of the

  Sulfuric Acid Mitigation System or (b) the associated injected reagent(s), and that change causes

  a material reduction in the removal efficiency of the Sulfuric Acid Mitigation System, then IPL

  shall conduct a stack test, in accordance with Subsection B above, within sixty (60) Operating

  Days after it completes the change, and comply with the provisions of this Subsection C.

  D. Recordkeeping

         36.      IPL shall maintain a daily record of the reagent injection rates utilized at each

  Unit. The record shall include the following information: (1) date; (2) average daily unit load

  (MWg); (3) average daily reagent injection flow rate (gallons per minute and tons per hour); and

  (4) reagent injection density (if injecting liquid reagent).

VIII.    ALLOWANCE SURRENDER REQUIREMENTS

  A.     Use and Surrender of NOX and SO2 Allowances

         37.    Except as may be necessary to comply with Section XVIII (Stipulated Penalties) of

  this Consent Decree, IPL shall not use NOX or SO2 Allowances to comply with any requirement

  of this Consent Decree, including by claiming compliance with any emission limitation required




                                                    22
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 26 of 76 PageID #: 296




  by this Consent Decree by using, tendering, or otherwise applying NOX or SO2 Allowances to

  offset any excess emissions.

            38.   Except as provided in this Consent Decree, beginning in calendar year 2019 and

  continuing each calendar year thereafter, IPL shall not sell, bank, trade, or transfer its interest in

  any NOX or SO2 Allowances allocated to any coal-fired Unit at the Petersburg Station.

            39.   Beginning in calendar year 2019, and continuing each calendar year thereafter, IPL

  shall Surrender all NOX and SO2 Allowances allocated to any coal-fired Unit at Petersburg

  Station for that calendar year that IPL does not need to meet federal and/or state Clean Air Act

  regulatory requirements either for that Unit or any other coal-fired Units at Petersburg Station.

            40.   Nothing in this Consent Decree shall prevent IPL from purchasing, transferring or

  otherwise obtaining NOX or SO2 Allowances from another source for purposes of complying

  with federal and/or state Clean Air Act regulatory requirements to the extent otherwise allowed

  by law.

            41.   The requirements of this Consent Decree pertaining to IPL’s use and Surrender of

  NOX and SO2 Allowances are permanent and are not subject to any termination provision of this

  Consent Decree.

  B.        Method for Surrender of NOX and SO2 Allowances

            42.   IPL shall Surrender, or transfer to a non-profit third-party selected by IPL for

  Surrender, all NOX and SO2 Allowances required to be Surrendered pursuant to this Section by

  June 30 of the immediately following calendar year.

            43.   If any Allowances required to be Surrendered under this Consent Decree are

  transferred directly to a non-profit third-party, IPL shall include a description of such transfer in

  the next report submitted to U.S. EPA pursuant to Section XVI (Periodic Reporting) of this



                                                    23
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 27 of 76 PageID #: 297




  Consent Decree. Such report shall: (a) identify the non-profit third-party recipient(s) of the

  Allowances and list the serial numbers of the transferred Allowances; and (b) include a

  certification by the third-party recipient(s) stating that the recipient(s) will not sell, trade, or

  otherwise exchange any of the Allowances and will not use any of the Allowances to meet any

  obligation imposed by any environmental law. No later than the third periodic report due after

  the transfer of any Allowances, IPL shall include a statement that the third-party recipient(s)

  Surrendered the Allowances for permanent Surrender to U.S. EPA in accordance with the

  provisions of Paragraph 44 below within one-year after the IPL transferred the Allowances to

  them. IPL shall not have complied with the Allowance Surrender requirements of this Paragraph

  until all third-party recipient(s) have actually Surrendered the transferred Allowances to U.S.

  EPA.

          44.    For all Allowances required to be Surrendered, IPL shall, with respect to the

  Allowances that IPL is to Surrender, ensure that an Allowance transfer request form is first

  submitted to U.S. EPA’s Office of Air and Radiation’s Clean Air Markets Division directing the

  transfer of such Allowances to the EPA Enforcement Surrender Account or to any other U.S.

  EPA account that U.S. EPA may direct in writing. Such Allowance transfer requests may be

  made in an electronic manner using the U.S. EPA’s Clean Air Markets Division Business

  System, or similar system provided by U.S. EPA. As part of submitting these transfer requests,

  IPL shall ensure that the transfer of its Allowances are irrevocably authorized and that the source

  and location of the Allowances being Surrendered are identified by name of account and any

  applicable serial or other identification numbers or station names.




                                                     24
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 28 of 76 PageID #: 298




 IX.        SUPER-COMPLIANT NOX AND SO2 ALLOWANCES

         45.    Notwithstanding Section VIII.A (Use and Surrender of NOx and SO2 Allowances)

  of this Consent Decree, in each calendar year beginning in 2019, and continuing thereafter, IPL

  may sell, bank, use, trade, or transfer Petersburg Station Units 2 and 3 NOx Allowances and

  Petersburg Station Units 1 and 2 SO2 Allowances made available in that calendar year solely as a

  result of (a) the installation and operation of any NOx or SO2 air pollution control equipment that

  is not otherwise required by, or necessary to maintain compliance with, any provision of this

  Consent Decree, and is not otherwise required by law or (b) the achievement and maintenance of

  an Emission Rate below the 30-Day Rolling Average NOx Emission Rate or 30-Day Rolling

  Average SO2 Emission Rate, as applicable to the Allowances being used, provided that IPL is

  also in compliance for that calendar year with all emission limitations for NOx or SO2 , as

  applicable to whether NOx or SO2 Allowances are being used, as set forth in this Consent

  Decree.

         46.    IPL shall timely report the generation of such Super-Compliant NOx or SO2

  Allowances in accordance with Section XVI (Periodic Reporting) of this Consent Decree.

  X.        PROHIBITION ON NETTING CREDITS OR OFFSETS

         47.    Emission reductions that result from actions to be taken by IPL after the Date of

  Entry of this Consent Decree to comply with the requirements of this Consent Decree shall not

  be considered as a creditable contemporaneous emission decrease for the purpose of obtaining a

  Netting credit or offset under the Clean Air Act’s Nonattainment NSR and PSD programs.

         48.    The limitations on the generation and use of netting credits and offsets set forth in

  the previous Paragraph do not apply to emission reductions achieved at Petersburg Station Unit

  1, Unit 2, Unit 3, or Unit 4 that are greater than those required for that particular Unit under this



                                                    25
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 29 of 76 PageID #: 299




  Consent Decree. For purposes of this Paragraph, emission reductions at Petersburg Station Unit

  1, Unit 2, Unit 3 and/or Unit 4 are greater than those required under this Consent Decree if they

  result from such Unit’s compliance with federally-enforceable emission limits that are more

  stringent than those limits imposed on such Unit under this Consent Decree and under applicable

  provisions of the Clean Air Act or the Indiana SIP.

         49.     Nothing in this Consent Decree is intended to preclude the emission reductions

  generated under this Consent Decree from being considered by the applicable state regulatory

  agency or EPA for the purpose of attainment demonstrations submitted pursuant to Section 110

  of the Act, 42 U.S.C. § 7410, or in determining impacts on National Ambient Air Quality

  Standards, PSD increment, or air quality related values, including visibility, in a Class I area.

 XI.     ENVIRONMENTAL MITIGATION PROJECT

         50.     IPL shall implement the Environmental Mitigation Project (“Project”) described

  in Appendix A to this Consent Decree in compliance with the approved plans and schedules for

  such Project and other terms of this Consent Decree.

         51.    IPL shall maintain, and present to EPA and IDEM upon request, all documents

  necessary to substantiate the completion of the Project described in Appendix A and shall

  provide these documents to EPA within thirty (30) Days following a request for the documents.

         52.    All plans and reports prepared by IPL pursuant to the requirements of this Section

  of the Consent Decree and required to be submitted to EPA and IDEM shall be publicly available

  from IPL without charge in paper or electronic format.

         53.     With respect to the Project, IPL certifies the truth and accuracy of each of the

  following:




                                                   26
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 30 of 76 PageID #: 300




                  a.      That, as of the date of executing this Decree, IPL is not required to

  perform or develop the Project by any federal, state, or local law or regulation and is not required

  to perform or develop the Project by agreement, grant, or as injunctive relief awarded in any

  other action in any forum;

                  b.      That the Project is not a Project that IPL was planning or intending to

  construct, perform, or implement other than in settlement of the claims resolved in this Decree;

                  c.      That IPL has not received and will not receive credit for the Project in any

  other enforcement action; and

                  d.      That IPL shall neither generate nor use any pollutant reductions from the

  Project as netting reductions, pollutant offsets, or to apply for, obtain, trade, or sell any pollutant

  reduction credits.

          54.    IPL shall use good faith efforts to secure as much environmental benefit as

  possible for the Project, consistent with the applicable requirements and limits of this Consent

  Decree.

          55.    IPL shall comply with the reporting requirements described in Appendix A.

          56.    Beginning with the first Periodic Report under this Consent Decree, and

  continuing until completion of the Project (including any applicable periods of demonstration or

  testing), IPL shall provide EPA and IDEM with semi-annual updates concerning the progress of

  the Project.

          57.    In the first Periodic Report following the completion of the Project required under

  this Consent Decree (including any applicable periods of demonstration or testing), IPL shall

  submit to EPA and IDEM a report that documents the date that the Project was completed, IPL’s




                                                    27
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 31 of 76 PageID #: 301




  results from implementing the Project, including the emission reductions or other environmental

  benefits achieved.

XII.     CIVIL PENALTY

         58.    Within thirty (30) Days after the Date of Entry of this Consent Decree, IPL shall

  pay to the United States and the State of Indiana a civil penalty in the amount of $1.525 million,

  as follows:

                 a.     IPL shall pay a civil penalty of $925,000 to the United States. The civil

         penalty to the United States shall be paid by Electronic Funds Transfer (“EFT”) to the

         United States Department of Justice, in accordance with current EFT procedures,

         referencing DOJ Case Number 90-5-2-1-09897 and the civil action case name and case

         number of this action. The costs of such EFT shall be IPL’s responsibility. Payment

         shall be made in accordance with timely instructions provided to IPL by the Financial

         Litigation Unit of the U.S. Attorney’s Office for the Southern District of Indiana. Any

         funds received after 2:00 p.m. EDT shall be credited on the next business day. At the

         time of payment, IPL shall provide notice of payment, referencing the USAO File

         Number, the DOJ Case Number, and the civil action case name and case number, to the

         Department of Justice and to EPA in accordance with Section XXIII (Notices) of this

         Consent Decree.

                 b.     IPL shall pay a civil penalty of $600,000 to the State of Indiana within

         thirty (30) Days after the Date of Entry. Payment shall be wired through an EFT to

         Indiana to be deposited to the Environmental Management Special Fund pursuant to IC

         13-14-12-1. To receive wire instructions, Defendants shall call or email the following

         point of contact:



                                                  28
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 32 of 76 PageID #: 302




                   Robin Champion
                   Accounts Receivable Manager
                   Indiana Department of Environmental Management
                   Phone: 317-233-2394
                   Email: RChampio@idem.IN.gov


            Defendants shall also notify the same point of contact within ten (10) Days after the

            transfer occurs to confirm receipt.

            59.   Failure to timely pay the civil penalty shall subject IPL to interest accruing from

  the date payment is due until the date payment is made at the rate prescribed by

  28 U.S.C. § 1961, and shall render IPL liable for all charges, costs, fees, and penalties

  established by law for the benefit of a creditor or of the United States or the State of Indiana in

  securing payment.

    XIII.          SECTION 162(F)(2)(A)(II) IDENTIFICATION

            60.    For purposes of the identification requirement of Section 162(f)(2)(A)(ii) of the

  Internal Revenue Code, 26 U.S.C. § 162(f)(2)(A)(ii), performance of Section II (Applicability),

  Paragraph 4; Section IV (NOx Emissions), Paragraphs 6 – 13; Section V (SO2 Emissions),

  Paragraphs 14 – 17; Section VI (PM Emissions), Paragraphs 18– 24; Section VII (Sulfuric Acid

  Emissions), Paragraphs 25 – 36; Section VIII (Allowance Surrender Requirements), Paragraphs

  37 -- 39, 41 – 44; Section XI (Environmental Mitigation Project), Paragraphs 50 – 57 and

  Appendix A; Section XVI (Periodic Reporting), Paragraphs 74 (except with respect to the State

  EBP), 75 – 76; Section XVII (Review and Approval of Submissions), Paragraphs 77 (except

  with respect to dispute resolution) -- 78; Section XXI (Permits), Paragraphs 103 --107; and

  Section XXII (Information Collection and Retention), Paragraphs 108 – 109, is restitution or

  required to come into compliance with law.




                                                    29
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 33 of 76 PageID #: 303




XIV.     STATE-ONLY ENVIRONMENTALLY BENEFICIAL PROJECT

        61.     In consideration of the State of Indiana’s agreement to the terms of this settlement,

  IPL has agreed to perform a State-Only Environmentally Beneficial Project (“State EBP”) in

  accordance with this Section and the provisions of Appendix B for acquisition/donation (and, if

  appropriate, restoration) of ecologically significant land in the vicinity of the Petersburg Station

  for the benefit of the citizens of the State of Indiana and which will provide environmental

  benefits to residents in the vicinity of the Petersburg Station.

        62.     IPL shall spend at least, but shall have no obligation to spend more than, $325,000

  in performing its obligations for completion of the State EBP.

        63.     Certification. For the State EBP, IPL certifies as follows:

                  a.     That, as of the date of executing this Decree, IPL is not required to

         perform or develop the State EBP by any federal, state or local law or regulation and is

         not required to perform or develop the State EBP by agreement, grant, or as injunctive

         relief awarded in any other action in any forum.

                 b.      That IPL was not planning to perform the State EBP other than in

         settlement of claims resolved in this Decree.

                 c.      IPL has not received and will not receive credit for the State EBP in any

         other enforcement action.

         64.     IPL shall submit a final State EBP Completion Report, including a summary of all

  expenditures and any additional information required pursuant to Appendix B, to IDEM (with an

  information only copy to EPA) no later than one-hundred and eighty (180) Days from the date of

  the State EBP's completion. The State EBP Completion Report must be certified by an

  appropriate corporate official and shall contain:



                                                    30
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 34 of 76 PageID #: 304




                 a.      a detailed description of the project as completed, including a general

         description of properties and a map that clearly identifies the location of the ecologically

         significant land relative to IPL's Petersburg Station;

                 b.      a breakdown of all project costs associated with the acquisition/donation

         and, if appropriate, restoration of the ecologically significant land;

                 c.      evidence of the State EBP completion (which may include, but is not

         limited to, photos, vendor invoices or receipts, correspondence, etc.); and

                d.       A certification stating:

        I certify that the project has been fully implemented pursuant to the provisions of the
        consent decree entered in United States of America and The State of Indiana v.
        Indianapolis Power and Light Company, [insert cause], that I am familiar with the
        information in this document and that, based on my inquiry of those individuals
        responsible for obtaining the information, it is true and complete to the best of my
        knowledge. I know that there are significant penalties for submitting false information,
        including the possibility of fines and imprisonment for knowing violations.

         65.    Following receipt of the State EBP Completion Report, within sixty (60) Days,

  IDEM will notify IPL in writing that:

                a.       IPL has satisfactorily completed the State EBP and the State EBP

         Completion Report, or

                b.       IPL has not satisfactorily completed the State EBP and/or the State EBP

         Completion Report, and state the reasons for IDEM’s determination.

         66.    IPL is responsible for the satisfactory completion of the State EBP as provided in

  this Consent Decree.

                 a.      If IPL completes work pursuant to the State EBP Project as set forth in

         Appendix B but is unable to spend the entire amount specified in Paragraph 62 despite

         IPL’s good faith efforts, then IPL shall, following consultation with and approval by



                                                    31
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 35 of 76 PageID #: 305




         IDEM, use the remainder of its monetary obligation to help fund restoration of the

         acquired/donated ecologically significant land.

                 b.      Except as provided in Paragraph 66(a) above, if IPL fails to implement the

         State EBP, or halts or abandons work on the State EBP, IPL shall pay a stipulated penalty

         to the State of Indiana in the manner set forth in Paragraph 58 b) above, equal to the

         difference between the amount in Paragraph 62 above and the amount expended as

         demonstrated in the certified cost reports in satisfactory performance of the State EBP,

         plus $20,000. The penalty under this Paragraph shall accrue as of the date specified for

         completing the State EBP or the date performance ceases, whichever is earlier.

        67.     IDEM’s determinations under this Section XIV shall be subject to Dispute

  Resolution (Section XX) under this Decree.

XV.      RESOLUTION OF CIVIL CLAIMS

         68.    This Consent Decree resolves all civil claims of the United States and the State of

  Indiana against IPL for the violations alleged in the Complaint filed in this action through the

  Date of Lodging. This Consent Decree also resolves all civil claims regarding the Petersburg

  Station alleged in the NOVs issued by EPA to IPL under any or all of: (a) Opacity and SO2

  requirements in the IPL Title V Permit, including Sections C.2, D.1.2, D.2.2.(a)(2), D.2.2(b)(2),

  and D.2.3(a) of the IPL Title V Permit, (b) Opacity requirements in NSPS Subpart D, including

  at 40 C.F.R. § 60.42(a)(2), (c) the SO2 limits in NSPS Subpart D, including at

  40 C.F.R. § 60.43(a)(2) and (d) Opacity and SO2 requirements in the Indiana SIP, including at

  326 IAC 12, 326 IAC 5-1, et seq. This Consent Decree also resolves all civil claims of the

  United States and the State of Indiana against IPL that arose from any modifications commenced

  before the Date of Lodging at a Petersburg Station Unit, including but not limited to those claims



                                                  32
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 36 of 76 PageID #: 306




  alleged in the Complaint in this action and NOVs issued by EPA to IPL, only to the extent each

  applies to the Petersburg Station, under any or all of: (a) Part C or D of Subchapter I of the Act,

  42 U.S.C. §§ 7470-7492, 7501-7515, and the implementing PSD and Nonattainment NSR

  provisions of the Indiana SIP (b) Section 111 of the Clean Air Act, 42 U.S.C. § 7411 and 40

  C.F.R. § 60.14; and (c)Title V of the Act, 42 U.S.C. §§ 7661-7661f, including regulations that

  EPA has promulgated or approved under Title V of the Act, but only to the extent that such Title

  V claims are based on IPL’s failure to obtain an operating permit that reflects applicable

  requirements imposed under Section 111 or Part C or D of Subchapter I of the Act.

          69.    The United States and the State of Indiana reserve all legal and equitable remedies

  available to enforce the provisions of this Consent Decree, except as expressly stated in

  Paragraph 68. This Consent Decree shall not be construed to limit the rights of the United States

  or Indiana to obtain penalties or injunctive relief under the Act, its implementing regulations, or

  regulations authorized by the Act, or under other federal or state laws, regulations, or permit

  conditions except as specifically stated in Paragraph 68. The United States and Indiana further

  reserve all legal and equitable remedies to address any imminent and substantial endangerment

  to the public health or the environment arising at, or posed by, the Petersburg Station, whether or

  not related to the violations addressed in this Consent Decree or otherwise.

          70.    In any subsequent administrative or judicial proceeding initiated by the United

  States or Indiana for injunctive relief, civil penalties, or other appropriate relief relating to the

  Petersburg Station, IPL shall not assert, and may not maintain, any defense or claim based upon

  the principles of waiver, res judicata, collateral estoppel, issue preclusion, claim preclusion,

  claim-splitting, or other defenses based upon any contention that the claims raised by the United

  States or Indiana in the subsequent proceeding were or should have been brought in the instant



                                                     33
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 37 of 76 PageID #: 307




  case, except with respect to claims that have been resolved pursuant to Paragraph 68. This

  Consent Decree is not a permit, or a modification of any permit, under any federal, State, or local

  laws or regulations. IPL is responsible for achieving and maintaining complete compliance with

  all applicable federal, State, and local laws, regulations, and permits; and IPL’s compliance with

  this Consent Decree shall be no defense to any action commenced pursuant to any such laws,

  regulations, or permits, except as set forth herein. The United States and Indiana do not, by their

  consent to the entry of this Consent Decree, warrant or aver in any manner that IPL’s compliance

  with any aspect of this Consent Decree will result in compliance with the provisions of the Act,

  or with any other provisions of federal, State, or local laws, regulations, or permits.

         71.    This Decree does not limit or affect the rights of the United States or Indiana

  against any third parties not party to this Consent Decree.

         72.    This Decree shall not create any rights in, or grant any cause of action to, any third

  party not party to this Consent Decree.

         73.    This Consent Decree does not apply to any claim(s) of alleged criminal liability.

XVI.      PERIODIC REPORTING

         74.    Beginning 90 Days after Entry of this Consent Decree, on either the following

  January 30 or July 30 (whichever comes first) and continuing on a semi-annual basis, i.e.,

  January 30 and July 30, until termination of this Consent Decree, and in addition to any other

  express reporting requirement in this Consent Decree, IPL shall submit to EPA and IDEM a

  periodic report containing the following information:

                 a.      all information necessary to determine compliance with the requirements

         contained in Section IV (NOX Emissions), Section V (SO2 Emissions), Section VI (PM




                                                   34
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 38 of 76 PageID #: 308




         Emissions), Section VII (Sulfuric Acid Emissions), and Section VIII (Allowance

         Surrender Requirements);

                 b.      all information (including supporting calculations) relating to Super-

         Compliant NOX and SO2 Allowances that IPL claims to have generated in accordance

         with Section IX (Super-Compliant NOX and SO2 Allowances) through compliance

         beyond the requirements of this Consent Decree;

                 c.      all information indicating the status of installation and commencement of

         operation of pollution controls, including information that the installation and

         commencement of operation of a pollution control device may be delayed, including the

         nature and cause of the delay, and any steps taken by IPL to mitigate such delay;

                 d.      an identification of all periods when any pollution control device required

         by this Consent Decree to Continuously Operate was not operating, the reason(s) for the

         equipment not operating, and the basis for IPL’s compliance or non-compliance with the

         Continuous Operation requirements of this Consent Decree; and

                 e.      a summary of actions implemented and expenditures (cumulative and in

         the current reporting period) made pursuant to implementation of the Environmental

         Mitigation Project and State EBP required pursuant to Sections XI, XIV, Appendix A and

         Appendix B.

         75.    In any periodic report submitted pursuant to this Section, IPL may incorporate by

  reference information under its Title V permitting requirements, provided that IPL attaches the

  Title V permit report, or the relevant portion thereof, and provides a specific reference to the

  provisions of the Title V permit report that are responsive to the information required in the

  periodic report.



                                                   35
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 39 of 76 PageID #: 309




          76.    In addition to the periodic reports required pursuant to this Section, if IPL violates

   or deviates from any emission rate or any annual tonnage limitation requirement of this Consent

   Decree, IPL shall submit to EPA and IDEM a report on the violation or deviation from such

   requirement within twenty-one (21) Days after IPL knew or should have known of the event by

   exercise of due diligence. In the report, IPL shall explain the cause or causes of the violation or

   deviation and any measures taken or to be taken by IPL to cure the reported violation or

   deviation or to prevent such violation or deviation in the future. If at any time, the requirements

   of this Consent Decree are included in Title V Permits, consistent with the requirements for such

   inclusion in this Consent Decree, then the submittal to EPA and IDEM of deviation reports

   required under applicable Title V regulations shall be deemed to satisfy all the requirements of

   this Paragraph. Each IPL report required by this Consent Decree shall be signed by IPL’s Clean

   Air Act Title V Responsible Official, and shall contain the following certification:

                This information was prepared either by me or under my direction or supervision in
                accordance with a system designed to assure that qualified personnel properly
                gather and evaluate the information submitted. Based on my evaluation, or the
                directions and my inquiry of the person(s) who manage the system, or the person(s)
                directly responsible for gathering the information, I hereby certify under penalty of
                law that, to the best of my knowledge and belief, this information is true, accurate,
                and complete. I understand that there are significant penalties for submitting false,
                inaccurate, or incomplete information to the United States.

XVII.     REVIEW AND APPROVAL OF SUBMITTALS

          77.    Defendant shall submit each plan, report, or other submission required by this

   Consent Decree to Plaintiffs whenever and in the manner such a document is required to be

   submitted for review or approval pursuant to this Consent Decree. EPA (after consultation with

   the State) may approve the submission or decline to approve it and provide written comments

   explaining the bases for declining such approval as soon as reasonably practicable. Within 60

   Days of receiving written comments from EPA, Defendant shall either: (a) revise the submission


                                                    36
 Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 40 of 76 PageID #: 310




    consistent with the written comments and provide the revised submission to EPA; or (b) submit

    the matter for dispute resolution, including the period of informal negotiations, under Section

    XX (Dispute Resolution) of this Consent Decree.

              78.    Upon receipt of EPA’s final approval of the submission, or upon completion of the

    submission pursuant to dispute resolution, Defendant shall implement the approved submission in

    accordance with the schedule specified therein or another EPA-approved schedule.

XVIII.       STIPULATED PENALTIES

              79.    For any failure by IPL to comply with the terms of this Consent Decree, and

    subject to the provisions of Sections XIX (Force Majeure) and XX (Dispute Resolution), IPL

    shall pay, within thirty (30) Days after receipt of written demand to IPL by the United States, the

    following stipulated penalties to the United States and Indiana:

                        Consent Decree Violation                             Stipulated Penalty

            a. Failure to pay the civil penalty as specified in       $10,000 per Day
         Section XII (Civil Penalty) of this Consent Decree.



             b. Failure to comply with any applicable 30-Day          $2,500 per Day per violation
         Rolling Average Emission Rate for SO2 or NOX, where
         the violation is less than 5% in excess of the lbs/mmBTU
         limits.

             c. Failure to comply with any applicable 30-Day          $5,000 per Day per violation
         Rolling Average Emission Rate for SO2 or NOX, where
         the violation is equal to or greater than 5% but less than
         10% in excess of the lbs/mmBTU limits.

             d. Failure to comply with any applicable 30-Day          $10,000 per Day per violation
         Rolling Average Emission Rate for SO2 or NOX, where
         the violation is equal to or greater than 10% in excess of
         the lbs/mmBTU limits.




                                                       37
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 41 of 76 PageID #: 311




       e. Failure to comply with the Annual System                $5,000 per ton for the first 100
    Tonnage Limits for SO2.                                       tons, and $10,000 per ton for each
                                                                  additional ton above 100 tons. In
                                                                  addition, IPL shall Surrender SO2
                                                                  Allowances in an amount equal to
                                                                  two times the number of tons by
                                                                  which the limitation was exceeded

       f. Failure to comply with the Annual System                $5,000 per ton for the first 100
    Tonnage Limits for NOX.                                       tons, and $10,000 per ton for each
                                                                  additional ton above 100 tons. In
                                                                  addition, IPL shall Surrender NOX
                                                                  Allowances in an amount equal to
                                                                  two times the number of tons by
                                                                  which the limitation was
                                                                  exceeded.

       g. Failure to install, commence Continuous                 $10,000 per day per violation
    Operation, or Continuously Operate a NOX, SO2, or PM          during the first 30 Days, $37,500
    control device or the Sulfuric Acid Mitigation System as      per Day per violation thereafter
    required by this Consent Decree.

        h. Failure to conduct any performance tests required      $1,000 per Day per violation
    by this Consent Decree.

       i. Failure to apply for any permit, or amendment or        $1,000 per Day per violation
    application thereto, required by Section XXI (Permits).

        j. Failure to timely submit or implement, as              $750 per Day per violation during
    approved, the reports, plans, studies, analyses, protocols,   the first ten days, $1,000 per day
    or other submittals required by this Consent Decree.          per violation thereafter

       k. Using, selling, banking, trading, or transferring       The Surrender of Allowances in
    NOX or SO2 Allowances except as permitted by Section          an amount equal to four times the
    VIII (Allowance Surrender Requirements).                      number of Allowances used, sold,
                                                                  or transferred in violation of this
                                                                  Consent Decree

       l. Failure to Surrender NOX or SO2 Allowances as           (a) $37,500 per Day plus (b)
    required under this Consent Decree.                           $1,000 per Allowance not
                                                                  surrendered

        m. Failure to demonstrate the third-party Surrender       $2,500 per Day per violation
    of a NOX or SO2 Allowance in accordance with Section
    VIII (Allowance Surrender Requirements).



                                                  38
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 42 of 76 PageID #: 312




       n. Failure to undertake and complete any of the            $1,000 per Day per violation
    Environmental Mitigation Projects in compliance with          during the first 30 days, $5,000
    Section XI (Environmental Mitigation Project) of this         per Day per violation thereafter
    Consent Decree.

        o. Violating an applicable PM Emission Rate based         $2,500 per Day, starting on the
    on the results of a stack test required pursuant to Section   day a stack test result
    VI (PM Emissions) where the violation is less than 5% in      demonstrates a violation and
    excess of the limit set forth in this Consent Decree.         continuing each day thereafter
                                                                  until and excluding such day on
                                                                  which a subsequent stack test
                                                                  demonstrates compliance with the
                                                                  applicable PM Emission Rate

        p. Violating an applicable PM Emission Rate based         $5,000 per Day, starting on the
    on the results of a stack test required pursuant to Section   day a stack test result
    VI (PM Emissions) where the violation is equal to or          demonstrates a violation and
    greater than 5% but less than 10% in excess of the limit      continuing each day thereafter
    set forth in this Consent Decree.                             until and excluding such day on
                                                                  which a subsequent stack test
                                                                  demonstrates compliance with the
                                                                  applicable PM Emission Rate

        q. Violating an applicable PM Emission Rate based         $10,000 per Day, starting on the
    on the results of a stack test required pursuant to Section   day a stack test result
    VI (PM Emissions) where the violation is equal to or          demonstrates a violation and
    greater than 10% in excess of the limit set forth in this     continuing each day thereafter
    Consent Decree.                                               until and excluding such day on
                                                                  which a subsequent stack test
                                                                  demonstrates compliance with the
                                                                  applicable PM Emission Rate

        r. Failure to optimize an ESP or Baghouse pursuant        $1,000 per Day
    to Paragraph 18

        s. Violating an applicable Sulfuric Acid Emission         $2,500 per Day per violation
    Rate based on the results of a stack test required
    pursuant to Section VII (Sulfuric Acid Emissions)
    where the violation is less than 5% in excess of the
    limit set forth in this Consent Decree.

        t. Violating an applicable Sulfuric Acid Emission         $5,000 per Day per violation
    Rate based on the results of a stack test required pursuant
    to Section VII (Sulfuric Acid Emissions) where the
    violation is equal to or greater than 5% but less than 10%
    in excess of the limit set forth in this Consent Decree.


                                                  39
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 43 of 76 PageID #: 313




        u. Violating an applicable Sulfuric Acid Emission         $10,000 per Day per violation
    Rate based on the results of a stack test required pursuant
    to Section VII (Sulfuric Acid Emissions) where the
    violation is equal to or greater than 10% in excess of the
    limit set forth in this Consent Decree.
                                                                  $1,000 per Day per violation with
        v. Failure to maintain a 24-hour rolling average
    injection rate in accordance with Paragraph 34.               no more than one stipulated
                                                                  penalty assessed per Unit per Day
        w. Any other violation of this Consent Decree.            $1,000 per Day per violation



         80.    Violations of any limit based on a 30-Day Rolling Average constitute thirty (30)

  days of violation, but where such a violation (for the same pollutant and from the same Unit)

  recurs within periods less than thirty (30) Operating Days, IPL shall not be obligated to pay a

  daily stipulated penalty for any day of the recurrence for which a stipulated penalty has already

  been paid.

         81.     Affirmative Defense as to Stipulated Penalties for Excess Emissions Occurring

  During Malfunctions.

                 a.      If any Petersburg Station Unit exceeds a unit-specific 24-Hour or 30-Day

         Rolling Average Emission Rate due to Malfunction, IPL, bearing the burden of proof, has

         an affirmative defense to stipulated penalties under this Consent Decree if IPL satisfies

         the following: i) the excess emissions were caused by a sudden, unavoidable breakdown

         of technology, beyond the control of the Defendant; ii) the excess emissions (1) did not

         stem from any activity or event that could have been foreseen and avoided, or planned

         for, and (2) could not have been avoided by better operation and maintenance practices in

         accordance with manufacturers’ specifications and good engineering and maintenance

         practices; iii) to the maximum extent practicable, the air pollution control equipment and

         processes were maintained and operated in a manner consistent with good practice for


                                                  40
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 44 of 76 PageID #: 314




        minimizing emissions in accordance with manufacturers’ specifications and good

        engineering and maintenance practices; vi) repairs were made in an expeditious fashion

        when Defendant knew or should have known that an applicable 24-Hour or 30-Day

        Rolling Average Emission Rate was being or would be exceeded. Off-shift labor and

        overtime must have been utilized, to the extent practicable, to ensure that such repairs

        were made as expeditiously as practicable; v) the amount and duration of the excess

        emissions were minimized to the maximum extent practicable during periods of such

        emissions in accordance with manufacturers’ specifications and good engineering and

        maintenance practices; vi) all possible steps were taken to minimize the impact of the

        excess emissions on ambient air quality; vii) all emission monitoring systems were kept

        in operation if at all possible in accordance with manufacturers’ specifications and good

        engineering and maintenance practices; viii) Defendant’s actions in response to the

        excess emissions were documented by properly signed or otherwise validated,

        contemporaneous operating logs, or other relevant evidence; ix) the excess emissions

        were not part of a recurring pattern indicative of inadequate design, operation, or

        maintenance; and x) Defendant properly and promptly notified Plaintiffs as required by

        this Consent Decree.

               b.      To assert an affirmative defense for exceedance of an applicable 24-Hour

        Rolling Emission Rate due to Malfunction under Paragraph 81(a), the Defendant shall

        submit all data demonstrating the actual emissions for any 24 hour period during which

        the excess emissions from the Malfunction occurs. To assert an affirmative defense for

        exceedance of an applicable 30-Day Rolling Average Emission Rate due to a

        Malfunction under Paragraph 81(a), IPL shall submit all data demonstrating the actual



                                                 41
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 45 of 76 PageID #: 315




        emissions for the Day the Malfunction occurs and the 29-Day period following the Day

        the Malfunction occurs. Defendant may, if it elects, submit emissions data for the same

        24-Hour or 30-Day period but that excludes the excess emissions.

               c.      IPL shall provide notice to the United States in writing of IPL’s intent to

        assert an affirmative defense as to stipulated penalties for a Malfunction under this

        Paragraph 81(a) in IPL’s semiannual progress reports as required by Section XVI

        (Periodic Reporting). This notice shall be submitted to EPA pursuant to the provisions of

        Section XXIII (Notices). The notice shall contain: i) The identity of each stack or other

        emission point where the excess emissions occurred; ii) The magnitude of the excess

        emissions expressed in the units of the applicable emissions limitation and the operating

        data and calculations used in determining the magnitude of the excess emissions; iii) The

        time and duration or expected duration of the excess emissions; iv) The identity of the

        equipment from which the excess emissions emanated; v) The nature and suspected

        cause of the excess emissions; vi) The steps taken, if the excess emissions were the

        result of a Malfunction, to remedy the Malfunction and the steps taken or planned to

        prevent the recurrence of the Malfunction; and vii) The steps that were or are being taken

        to limit the excess emissions.

               d.      A Malfunction shall not constitute a Force Majeure Event unless the

        Malfunction also meets the definition of a Force Majeure Event, as provided in Section

        XIX (Force Majeure).

               e.      The affirmative defense provided herein is only an affirmative defense to

        stipulated penalties for violations of this Consent Decree, and not a defense to any civil or

        administrative action for injunctive relief.



                                                  42
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 46 of 76 PageID #: 316




         82.    All stipulated penalties shall begin to accrue on the day after the performance is

  due or on the day a violation occurs, whichever is applicable, and shall continue to accrue until

  performance is satisfactorily completed or until the violation ceases, whichever is applicable.

  Nothing in this Consent Decree shall prevent the simultaneous accrual of separate stipulated

  penalties for separate violations of this Consent Decree.

         83.    Within thirty (30) Days following receipt of written demand to IPL from the

  United States, IPL shall pay one-half of the amount of stipulated penalties to the United States

  and one-half to the State of Indiana, and shall continue to make such payments every thirty (30)

  Days thereafter until the violation(s) no longer continues, unless IPL elects within twenty (20)

  Days of receipt of written demand to IPL from the United States to dispute the obligation to pay

  or the accrual of stipulated penalties in accordance with the provisions in Section XX (Dispute

  Resolution) of this Consent Decree.

         84.    Stipulated penalties shall continue to accrue as provided in accordance with

  Paragraph 81 during any dispute, with interest on accrued stipulated penalties payable and

  calculated at the rate established by the Secretary of the Treasury, pursuant to 28 U.S.C. § 1961,

  but need not be paid until the following:

                 a.     If the dispute is resolved by agreement, or by a decision of Plaintiffs

         pursuant to Section XX (Dispute Resolution) of this Consent Decree that is not appealed

         to the Court, accrued stipulated penalties agreed or determined to be owing, together with

         accrued interest, shall be paid within thirty (30) Days of the Date of Entry of the

         agreement or of the receipt of Plaintiffs’ decision;

                 b.     If the dispute is appealed to the Court and Plaintiffs prevail in whole or in

         part, IPL shall, within sixty (60) Days of receipt of the Court’s decision or order, pay all



                                                  43
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 47 of 76 PageID #: 317




         accrued stipulated penalties determined by the Court to be owing, together with interest

         accrued on such penalties determined by the Court to be owing, except as provided in

         subparagraph (c) of this Paragraph; or

                 c.      If the Court’s decision is appealed by any Party, IPL shall, within fifteen

         (15) Days of receipt of the final appellate court decision, pay all accrued stipulated

         penalties determined to be owed, together with interest accrued on such stipulated

         penalties determined to be owed by the appellate court.

         85.    The United States or the State of Indiana may in the unreviewable exercise of its

  discretion reduce or waive stipulated penalties otherwise due to it under this Consent Decree.

         86.    All monetary stipulated penalties shall be paid in the manner set forth in Section

  XII (Civil Penalty) of this Consent Decree and all Allowance Surrender stipulated penalties shall

  comply with the Allowance Surrender procedures of Paragraphs 42 through 44.

         87.    Should IPL fail to pay stipulated penalties in compliance with the terms of this

  Consent Decree, the United States and the State of Indiana shall be entitled to collect interest on

  such penalties, as provided for in 28 U.S.C. § 1961, accruing as of the date payment became due.

  Nothing in this Paragraph shall be construed to limit the United States or the State of Indiana

  from seeking any remedy otherwise provided by law for IPL’s failure to pay any stipulated

  penalties.

         88.    The stipulated penalties provided for in this Consent Decree shall be in addition to

  any other rights, remedies, or sanctions available to the United States or the State of Indiana by

  reason of IPL’s failure to comply with any requirement of this Consent Decree or applicable law,

  except that for any violation of this Consent Decree (for which this Consent Decree provides for

  payment of a stipulated penalty) that is also a violation of the Act, including the implementing



                                                  44
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 48 of 76 PageID #: 318




  Title V operating permit program, regulations EPA has approved and/or promulgated under the

  Act, the Indiana SIP, including Indiana regulations under 326 IAC Article 2, or of an operable

  Title V permit, IPL shall be allowed a credit for stipulated penalties paid against any statutory or

  regulatory penalties also imposed for such violation.

XIX.      FORCE MAJEURE

          89.    For purposes of this Consent Decree, “Force majeure,” is defined as any event

  arising from causes beyond the control of IPL, of any entity controlled by IPL, or of IPL’s

  contractors, that delays or prevents the performance of any obligation under this Consent Decree

  despite IPL’s best efforts to fulfill the obligation. “Best efforts to fulfill the obligation” includes

  using best efforts to anticipate any potential Force Majeure Event and best efforts to address the

  effects of any potential force majeure event (a) as it is occurring and (b) after it has occurred,

  such that the delay and/or violation are minimized to the greatest extent possible. “Force

  Majeure” does not include IPL’s financial inability to perform any obligation under this Consent

  Decree.

          90.    Notice of Force Majeure Events. If any event occurs or has occurred that may

  delay or prevent compliance with or otherwise cause a violation of any obligation under this

  Consent Decree, as to which IPL intends to assert a claim of Force Majeure, then IPL shall notify

  the United States in writing as soon as practicable, but in no event later than twenty-one (21)

  Days following the date IPL first knew, or by the exercise of due diligence should have known,

  that the event caused or may cause such delay or violation. In this notice, IPL shall reference

  this Paragraph of this Consent Decree and describe the anticipated length of time that the delay

  or violation may persist, the cause or causes of the Force Majeure Event, all measures taken or to

  be taken by IPL to prevent or minimize the delay or violation, the schedule by which IPL



                                                    45
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 49 of 76 PageID #: 319




  proposes to implement those measures, and IPL’s rationale for attributing the failure, delay, or

  violation to a Force Majeure Event. A copy of this Notice shall be sent electronically, as soon as

  practicable, to the United States. IPL shall adopt all reasonable measures to avoid or minimize

  such failures, delays, or violations. IPL shall be deemed to know of any circumstance which it,

  its contractors, or any entity controlled by it, knew or should have known.

         91.     Failure to Give Notice. If IPL fails to comply with the notice requirements of this

  Section, the United States (after consultation with the State of Indiana) may void IPL’s claim for

  Force Majeure as to the specific event for which IPL has failed to comply with such notice

  requirement.

         92.     United States’ Response. The United States shall notify IPL in writing regarding

  IPL’s claim of Force Majeure as soon as reasonably practicable after receipt of the Notice

  required under Paragraph 90. If the United States (after consultation with the State of Indiana)

  agrees that a delay in performance has been or will be caused by a Force Majeure Event, the

  United States and IPL shall stipulate to an extension of deadline(s) for performance of the

  affected compliance requirement(s) by a period equal to the delay actually caused by the event,

  or as otherwise agreed to by the United States (after consultation with the State of Indiana) and

  IPL, in which case the delay at issue shall be deemed not to be a violation of the affected

  requirement(s) of this Consent Decree. In such circumstances, an appropriate modification shall

  be made pursuant to Section XXVI (Modification) of this Consent Decree.

         93.     Disagreement. If the United States (after consultation with the State of Indiana)

  does not agree with IPL’s claim of Force Majeure, or if the United States and IPL cannot agree

  on the length of the delay actually caused by the Force Majeure Event, the matter shall be

  resolved in accordance with Section XX (Dispute Resolution) of this Consent Decree.



                                                   46
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 50 of 76 PageID #: 320




           94.   Burden of Proof. In any dispute regarding Force Majeure, IPL shall bear the

  burden of proving that any delay in performance, or any other violation of any requirement of

  this Consent Decree, was caused by or will be caused by a Force Majeure Event. IPL shall also

  bear the burden of proving that IPL gave the notice required by this Section and the anticipated

  duration and extent of any failure, delay, or violation(s) attributable to a Force Majeure Event.

  An extension of one compliance date may, but will not necessarily, result in an extension of a

  subsequent compliance date.

           95.   Events Excluded. Unanticipated or increased costs or expenses associated with the

  performance of IPL’s obligations under this Consent Decree shall not constitute a Force Majeure

  Event.

           96.   Potential Force Majeure Events. The Parties agree that, depending upon the

  circumstances related to an event and IPL’s response to such circumstances, the kinds of events

  listed below are among those that could qualify as Force Majeure Events within the meaning of

  this Section: construction, labor, or equipment delays; Malfunction of a Unit or emission control

  device; unanticipated coal supply or pollution control reagent delivery interruptions; acts of God;

  acts of war or terrorism; and orders by a government official, government agency, other

  regulatory authority, or a regional transmission organization (e.g., the Midcontinent Independent

  System Operator, Inc.), acting under and authorized by applicable law or tariff as accepted by the

  Federal Energy Regulatory Commission, that directs IPL to supply electricity so long as such

  order is a response to a system-wide (state-wide or regional) emergency which could include

  unanticipated required operation to avoid loss of load or unserved load or is necessary to

  preserve the reliability of the bulk power system. Depending upon the circumstances and IPL’s

  response to such circumstances, failure of a permitting authority or the Indiana Utility



                                                  47
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 51 of 76 PageID #: 321




  Regulatory Commission (“IURC”) to issue a necessary permit, approval or order with sufficient

  time for IPL to achieve compliance with this Consent Decree may constitute a Force Majeure

  Event where the failure of the permitting authority or the IURC to act is beyond the control of

  IPL and IPL has taken all steps available to it to obtain the necessary permit or order, including,

  but not limited to: submitting a complete permit application or request; responding to requests

  for additional information by the permitting authority or the IURC in a timely fashion; and

  accepting lawful permit terms and conditions after expeditiously exhausting any legal rights to

  appeal terms and conditions imposed by the permitting authority or the IURC.

         97.    Extended Schedule. As part of the resolution of any matter submitted to this Court

  under Section XX (Dispute Resolution) of this Consent Decree regarding a claim of Force

  Majeure, the United States and IPL by agreement, or this Court by order, may in appropriate

  circumstances extend or modify the schedule for completion of work and/or obligations under

  this Consent Decree to account for the delay in the work and/or obligations that occurred as a

  result of any delay agreed to by the United States or approved by the Court. IPL shall be liable

  for stipulated penalties pursuant to Section XVIII (Stipulated Penalties) of this Consent Decree

  for its failure thereafter to complete the work and/or obligations in accordance with the extended

  or modified schedule (provided that IPL shall not be precluded from asserting that a further

  Force Majeure Event has caused or may cause a delay in complying with the extended or

  modified schedule).

XX.      DISPUTE RESOLUTION

         98.    Unless otherwise expressly provided for in this Consent Decree, the dispute

  resolution procedures of this Section shall be the exclusive mechanism to resolve disputes arising

  under or with respect to this Consent Decree. Any dispute subject to Dispute Resolution under



                                                   48
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 52 of 76 PageID #: 322




  this Consent Decree shall first be the subject of informal negotiations. The dispute shall be

  considered to have arisen when IPL sends the United States (or the State, in a dispute concerning

  the State EBP) a written Notice of Dispute. The period of informal negotiations shall not exceed

  20 Days from the date the dispute arises, unless that period is modified by written agreement of

  the Parties. If the Parties cannot resolve a dispute by informal negotiations, then the United

  States (or the State, in a dispute concerning the State EBP) shall provide IPL with a written

  summary of its position regarding the dispute within 30 Days following the conclusion of the

  period for informal negotiations. The position advanced by the United States (or the State, in a

  dispute concerning the State EBP) shall be considered binding unless, within 45 Days after the

  United States (or the State, in a dispute concerning the State EBP) provides its written position,

  IPL seeks judicial resolution of the dispute as set forth below.

         99.     IPL may seek judicial resolution of the dispute by filing with the Court and

  serving on the United States and the State in accordance with Section XXIII (Notices) a motion

  requesting judicial resolution of the dispute. The motion shall contain a written statement of

  IPL’s position on the matter in dispute, including any supporting factual data, analysis, opinion,

  or documentation, and shall set forth the relief requested and any schedule within which the

  dispute must be resolved for orderly implementation of the Consent Decree. This Court shall not

  draw any inferences nor establish any presumptions adverse to either Party as a result of

  invocation of this Section or the Parties’ inability to reach agreement.

         100. The United States (or the State, in a dispute concerning the State EBP) shall

  respond to IPL’s motion within the time period allowed by the Local Rules of this Court. IPL

  may file a reply memorandum, to the extent permitted by the Local Rules.




                                                   49
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 53 of 76 PageID #: 323




         101. The invocation of dispute resolution procedures under this Section shall not, by

  itself, extend, postpone, or affect in any way any obligation of IPL under this Consent Decree,

  unless and until final resolution of the dispute so provides. Stipulated penalties with respect to

  the disputed matter shall continue to accrue from the first Day of noncompliance, but payment

  shall be stayed pending resolution of the dispute as provided in Paragraph 84. If IPL does not

  prevail on the disputed issue, stipulated penalties shall be assessed and paid as provided in

  Section XVIII (Stipulated Penalties). The Court shall decide all disputes pursuant to applicable

  principles of law for resolving such disputes. In their filings with the Court under Paragraph 99,

  the Parties shall state their respective positions as to the applicable standard of law for resolving

  the particular dispute.

XXI.     PERMITS

         102. Unless expressly stated otherwise in this Consent Decree, in any instance where

  otherwise applicable law or this Consent Decree requires IPL to secure a permit to authorize

  construction or operation of any device, including all preconstruction, construction, and

  operating permits required under State law, IPL shall make such application in a timely manner.

  EPA and the State of Indiana will use best efforts to review expeditiously, to the extent

  applicable, all permit applications submitted by IPL to meet the requirements of this Consent

  Decree.

        Nothing in this Consent Decree shall be construed to require Defendant to apply for,

  amend, or obtain a PSD or Nonattainment NSR permit or permit modification for any physical

  change in, or any change in the method of operation of, any Unit that would give rise to claims

  resolved by Section XV(Resolution of Civil Claims) of this Consent Decree.




                                                   50
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 54 of 76 PageID #: 324




         103. When permits are required to comply with the terms of this Consent Decree, IPL

  shall complete and submit applications for such permits to the applicable State or local agency to

  allow sufficient time for all legally required processing and review of the permit request,

  including requests for additional information by the applicable State or local agency. Any failure

  by IPL to submit a timely permit application for a Unit, as required by permitting requirements

  under state, local, and/or federal regulations, shall bar any use of Section XIX (Force Majeure) of

  this Consent Decree where a Force Majeure claim is based on permitting delays.

         104. Within one-hundred eighty (180) Days after the Date of Entry of this Consent

  Decree, IPL shall apply for a modification of its Title V Permit, to include a schedule for all

  performance, operational, and control technology requirements established by this Consent

  Decree and: (a) all NOx, SO2, PM, and Sulfuric Acid Emissions requirements contained in

  Sections IV, V, VI, and VII of this Consent Decree; (b) any pertinent and relevant definition

  contained in Section III and; (c) requirements pertaining to the Surrender of Allowances

  specified in Section VIII. No other provisions of this Consent Decree shall be included as

  provisions of the permit modification pursuant to this Paragraph.

         105. Within one year from the Date of Entry of this Consent Decree, IPL shall apply

  pursuant to 326 IAC 2-7-10.5(b) to permanently include the requirements and limitations of this

  Consent Decree enumerated in this Paragraph into a federally-enforceable permit or request a

  site-specific amendment to the Indiana SIP, such that the requirements and limitations

  enumerated in this Paragraph become and remain “applicable requirements” as that term is

  defined in 40 C.F.R. Part 70.2. The permit shall include: (a) all NOx, SO2, PM, and Sulfuric

  Acid Emissions Rates, Controls and Annual Tonnage Limitations for NOx and SO2 contained in

  Sections IV, V, VI.B, and VII.A of this Consent Decree; (b) requirements to maintain



                                                   51
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 55 of 76 PageID #: 325




   compliance with a reagent injection curve as provided for in Section VII.B and C of this Consent

   Decree, unless IPL chooses or the permitting authority requires IPL to install a continuous

   emissions monitor to monitor sulfuric acid emissions; notwithstanding the above, upon request

   by IPL at any time, along with supporting data, IDEM may, in its discretion, agree to reduce the

   frequency of stack testing required to establish the reagent injection curve; (c) any pertinent and

   relevant definition in Section III (Definitions) and (d) requirements pertaining to the Surrender of

   Allowances specified in Section VIII. No other provisions of this Consent Decree shall be

   included in the federally-enforceable non-Title V Permit or request for a site-specific amendment

   to the Indiana SIP. The provisions of this Consent Decree in Sections XVIII (Force Majeure)

   and XVII (Affirmative Defenses as to Stipulated Penalties for Excess Emissions Occurring

   During Malfunctions) are applicable to compliance with this Consent Decree only and shall not

   be incorporated into any permits or approvals obtained in compliance with this Consent Decree.

          106.    Such permit shall allow for submittals to be sent to IDEM in place of EPA upon

   termination of this Consent Decree.

          107. IPL shall provide the United States with a copy of each application for a federally

   enforceable permit or SIP amendment, as well as a copy of any permit or amendment proposed

   as a result of such application, to allow for timely participation in any public comment

   opportunity.

XXII.     INFORMATION COLLECTION AND RETENTION

          108.    Any authorized representative of the United States, including their attorneys,

   contractors, and consultants, upon presentation of credentials, shall have a right of entry upon the

   premises of a Unit at the Petersburg Station at any reasonable time for the purpose of:

                  a.      monitoring the progress of activities required under this Consent Decree;



                                                   52
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 56 of 76 PageID #: 326




                 b.      verifying any data or information submitted to the United States in

         accordance with the terms of this Consent Decree;

                 c.      obtaining samples and, upon request, splits of any samples taken by IPL or

         its representatives, contractors, or consultants; and

                 d.      assessing IPL’s compliance with this Consent Decree.

         109.    Until three (3) years after termination of this Consent Decree, IPL shall retain,

  and instruct its contractors and agents to preserve, all non-identical copies of all records and

  documents (including records and documents in electronic form) in its or its contractors’ or

  agents’ possession or control, and that directly relate to IPL’s performance of its obligations

  under this Consent Decree. This record retention requirement shall apply regardless of any

  corporate document retention policy to the contrary. At any time during this information-

  retention period, upon request by the United States or the State, Defendant shall provide copies

  of any documents, records, or other information required to be maintained under this Paragraph.

         110.    Defendant may assert that information required to be provided under this Section

  is protected as Confidential Business Information (“CBI”) under 40 C.F.R. Part 2, and as to the

  State, as provided by Indiana law. As to any information that Defendant seeks to protect as CBI,

  Defendant shall follow the procedures set forth in 40 C.F.R. Part 2, and as to the State, as

  provided by Indiana law.

         111.    This Consent Decree in no way limits or affects any right of entry and inspection,

  or any right to obtain information, held by the United States or the State pursuant to applicable

  federal or state laws, regulations, or permits, nor does it limit or affect any duty or obligation of

  Defendant to maintain documents, records, or other information imposed by applicable federal or

  state laws, regulations, or permits.



                                                    53
 Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 57 of 76 PageID #: 327




XXIII.     NOTICES

           112. Unless otherwise provided herein, whenever notifications, submissions, or

    communications are required by this Consent Decree, they shall be made in both paper and

    electronic format at the following addresses. Electronic submittals shall not be the only form of

    notification, submission, or communication unless agreed upon by both the submitting and

    receiving parties.

           As to the United States of America:

           (if by mail service)
           Chief, Environmental Enforcement Section
           Environment and Natural Resources Division
           U.S. Department of Justice
           P.O. Box 7611, Ben Franklin Station
           Washington, DC 20044-7611
           DJ# 90-5-2-1-09897/1


           (if by commercial delivery service)
           4 Constitution Square
           150 M Street, NE
           Suite 2.900
           Washington, DC 20002
           DJ# 90-5-2-1-09897/1

           (if by email)
           eescdcopy.enrd@usdoj.gov
           DJ# 90-5-2-1-09897/1

           and

           Compliance Tracker
           Air Enforcement and Compliance Assurance Branch
           U.S. Environmental Protection Agency - Region 5
           77 West Jackson Blvd. AE-18J
           Chicago, Illinois 60604-3590

           (and by email at)
           r5ardreporting@epa.gov




                                                    54
 Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 58 of 76 PageID #: 328




          As to State of Indiana:

          Phil Perry
          Indiana Department of Environmental Management
          Chief, Air Compliance Branch
          100 North Senate Avenue
          MC-61-53, IGCN 1003
          Indianapolis, Indiana 46204-2251

          As to IPL:

          General Counsel
          Indianapolis Power and Light Co.
          One Monument Circle
          Indianapolis, IN 46204-2901


          113.    Any Party may, by written notice to the other Parties, change its designated notice

   recipient or notice address provided above.

          114. Notices submitted pursuant to this Section shall be deemed submitted upon

   mailing, unless otherwise provided in this Consent Decree or by mutual agreement of the Parties

   in writing.

XXIV.     SALES OR TRANSFERS OF OPERATIONAL OR OWNERSHIP INTERESTS

          115. No sale or transfer of ownership or operational interest in any of the Units at the

   Petersburg Station, whether in compliance with the procedures of this Paragraph or otherwise,

   shall relieve Defendant of its obligation to ensure that the terms of the Decree are implemented,

   unless (1) the transferee agrees to undertake all of the obligations required by this Consent

   Decree that may be applicable to the transferred or purchased ownership or operational interests,

   and to be substituted for IPL as a Party under the Decree as a “material change” modification

   pursuant to Section XXVI (Modification) as to the applicable requirements of this Consent

   Decree and thus be bound thereby, and (2) the United States, after consultation with the State,

   consents to relieve IPL of such obligations. The United States, after consultation with the State,


                                                   55
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 59 of 76 PageID #: 329




  may refuse the transfer if it determines that the proposed transferee does not possess the

  technical ability or financial means required to implement the Decree. At least 30 Days prior to

  such transfer, Defendant shall provide a copy of this Consent Decree to the proposed transferee

  and shall simultaneously provide written notice of the prospective transfer to the United States

  and the State, in accordance with Section XXIII (Notices). Any attempt to transfer ownership or

  operational interest in any of the Units at the Petersburg Station without complying with this

  Paragraph constitutes a violation of this Decree.

         116. This Consent Decree shall not be construed to impede the transfer of any

  ownership or operational interests between IPL and any third party so long as the requirements

  of this Consent Decree are met. This Consent Decree shall not be construed to prohibit a

  contractual allocation as between IPL and any third party purchaser of ownership or operational

  interests of the burdens of compliance with this Consent Decree.

         117.    IPL may not assign, and may not be released from, any obligation under this

  Consent Decree that is not specific to the transferred ownership or operational interests,

  including the obligations set forth in Sections IX (Environmental Mitigation Project), X (Civil

  Penalty) and XIV (State-Only EBP).

XXV.     RETENTION OF JURISDICTION

         118.    The Court shall retain jurisdiction over this case after entry of this Consent

  Decree until termination of this Consent Decree, for the purpose of resolving disputes arising

  under this Decree or entering orders modifying this Decree, or to effectuate or enforce

  compliance with the terms of this Decree. During the term of this Consent Decree, any Party to

  this Consent Decree may apply to the Court for any relief necessary to construe or effectuate this

  Consent Decree.



                                                    56
  Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 60 of 76 PageID #: 330




XXVI.        MODIFICATION

             119.   The terms of this Consent Decree may be modified only by a subsequent written

    agreement signed by the United States and IPL. Where the modification constitutes a material

    change to any term of this Consent Decree, it shall be effective only upon approval by the Court.

             120.   Any disputes concerning modification of this Decree shall be resolved pursuant to

    Section XX (Dispute Resolution), provided, however, that instead of the burden of proof

    provided by Paragraph 94, the Party seeking modification bears the burden of demonstrating that

    it is entitled to the requested modification in accordance with Federal Rule of Civil Procedure

    60(b).

XXVII.       GENERAL PROVISIONS

             121.   When this Consent Decree specifies that IPL shall achieve and maintain a 30-Day

    Rolling Average Emission Rate, the Parties expressly recognize that compliance with such 30-

    Day Rolling Average Emission Rate shall commence immediately upon the date specified and

    that compliance as of such specified date (e.g., December 31) shall be determined based on data

    from that date and the twenty-nine (29) prior Unit Operating Days.

             122.   Nothing in this Consent Decree shall relieve IPL from its obligation to comply

    with all applicable federal, state, and local laws and regulations, including laws, regulations, and

    compliance deadlines that become applicable after the Date of Entry of the Consent Decree.

    Such laws and regulations include, but are not limited to, the Utility Mercury and Air Toxics

    Standards, the National Ambient Air Quality Standards, the Utility New Source Performance

    Standards requirements, and the obligation to apply for a Clean Water Act National Pollutant

    Discharge Elimination System (“NPDES”) permit(s) for the discharge of wastewater, and in

    connection with any such application or application for permit renewal, to provide the NPDES



                                                     57
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 61 of 76 PageID #: 331




  permitting authority with all information necessary to appropriately characterize effluent from

  their operations and develop appropriate effluent limitations, including but not limited to all

  information necessary for the NPDES permitting authority to appropriately evaluate discharges

  of total dissolved solids for their operations. Nothing in this Consent Decree should be construed

  to provide any relief from the emission limits or deadlines specified in such regulations,

  including, but not limited to, deadlines for the installation of pollution controls required by any

  such regulations, nor shall this Decree be construed as a pre-determination of eligibility for the

  one-year extension that may be provided under 42 U.S.C. § 7412(i)(3)(B).

         123.    Each limit and/or other requirement established by or under this Consent Decree

  is a separate, independent requirement.

         124.    Performance standards, emissions limits, and other quantitative standards set by

  or under this Consent Decree must be met to the number of significant digits in which the

  standard or limit is expressed. For example, an Emission Rate of 0.100 is not met if the actual

  Emission Rate is 0.101. IPL shall round the fourth significant digit to the nearest third

  significant digit, or the third significant digit to the nearest second significant digit, depending

  upon whether the limit is expressed to three or two significant digits. For example, if an actual

  Emission Rate is 0.1004, it shall be reported as 0.100, and shall be in compliance with an

  Emission Rate of 0.100, and if an actual Emission Rate is 0.1005, it shall be reported as 0.101,

  and shall not be in compliance with an Emission Rate of 0.100. IPL shall report data to the

  number of significant digits in which the standard or limit is expressed.

         125.    This Consent Decree constitutes the final, complete, and exclusive agreement and

  understanding among the Parties with respect to the settlement embodied in this Consent Decree,

  and supersedes all prior agreements and understandings among the Parties related to the subject



                                                    58
  Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 62 of 76 PageID #: 332




     matter herein. Other than deliverables that are subsequently submitted and approved pursuant to

     this Decree, the Parties acknowledge that there are no representations, agreements, or

     understandings relating to the settlement other than those expressly contained in this Consent

     Decree.

             126.    IPL, the United States, and IDEM shall each bear its own costs and attorneys’

     fees, except that the Plaintiffs shall be entitled to collect the costs (including attorneys’ fees)

     incurred in any action necessary to collect any portion of the civil penalty or any stipulated

     penalties due but not paid by Defendant.

XXVIII.      SIGNATORIES AND SERVICE

             127.    Each undersigned representative of IPL, IDEM, EPA and the Department of

     Justice, certifies that he or she is fully authorized to enter into the terms and conditions of this

     Consent Decree and to execute and legally bind to this document the Party he or she represents.

             128.    This Consent Decree may be signed in counterparts, and such counterpart

     signature pages shall be given full force and effect.

             129.    Each Party hereby agrees to accept service of process by mail with respect to all

     matters arising under or relating to this Consent Decree and to waive the formal service

     requirements set forth in Rule 4 of the Federal Rules of Civil Procedure and any applicable Local

     Rules of this Court including, but not limited to, service of a summons.

 XXIX.       PUBLIC COMMENT/AGENCY REVIEW

             130.    This Consent Decree shall be lodged with the Court for a period of not less than

     30 Days for public notice and comment in accordance with 28 C.F.R. § 50.7. The United States

     reserves the right to withdraw or withhold its consent if the comments regarding the Consent

     Decree disclose facts or considerations indicating that the Consent Decree is inappropriate,



                                                       59
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 63 of 76 PageID #: 333




  improper, or inadequate. Defendant agrees not to withdraw from or oppose entry of this

  Consent Decree by the Court or challenge any provision of the Decree, unless the United States

  has notified Defendant in writing that it no longer supports entry of the Decree.

XXX.     TERMINATION

         131. Once IPL has:

                 a.      completed the requirements of Sections IV (NOx Emissions), V (SO2

         Emissions), VI (PM Emissions), VII (Sulfuric Acid Emissions), XI (Environmental

         Mitigation Project), and XIV(State-Only Environmentally Beneficial Project) of this

         Consent Decree;

                 b.      maintained continuous compliance with this Consent Decree, including

         continuous operation of all pollution controls required by this Consent Decree, for a

         period of at least 24 months;

                 c.      paid the civil penalty and any accrued stipulated penalties as required by

         this Consent Decree;

                 d.      either included the requirements and limitations enumerated in this

         Consent Decree into a permanent federally enforceable permit or obtained a site-specific

         amendment to the Indiana SIP, as required by Paragraph 105 in Section XXI (Permits) of

         this Consent Decree; and

                 e.      certified that the date of IPL’s Request for Termination is later than

         December 31, 2022,

  IPL may serve upon the United States a Request for Termination of this Consent Decree as a

  whole, stating that IPL has satisfied all the requirements of this Paragraph, together with all

  necessary supporting documentation.



                                                   60
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 64 of 76 PageID #: 334




         132.    Following receipt by the United States of IPL’s Request for Termination, the

  Parties shall confer informally concerning the Request and any disagreement that the Parties may

  have as to whether IPL has satisfactorily complied with the requirements for termination of this

  Consent Decree. If the United States, after consultation with the State of Indiana, agrees that the

  Decree may be terminated, the Parties shall submit, for the Court’s approval, a joint stipulation

  terminating the Decree.

         133.    If the United States, after consultation with the State of Indiana, does not agree

  that the Decree may be terminated, IPL may invoke Dispute Resolution under Section XX of this

  Decree. However, IPL shall not seek Dispute Resolution of any dispute regarding termination

  until sixty (60) Days after service of its Request for Termination.

XXXI.    FINAL JUDGMENT

         134.    Upon approval and entry of this Consent Decree by the Court, this Consent

  Decree shall constitute a final judgment between the United States, the State of Indiana and IPL.




 SO ORDERED this 23rd day of March 2021.

                                                        ________________________________
                                                        UNITED STATES DISTRICT JUDGE
                                                        Southern District of Indiana




                                                  61
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 65 of 76 PageID #: 335




  Signature Page for United States of America and the State of Indiana v. Indianapolis Power &
  Light Company Consent Decree


  FOR THE UNITED STATES DEPARTMENT OF JUSTICE:


  DATE: August 7, 2020                JONATHAN D. BRIGHTBILL
                                      Principal Deputy Assistant Attorney General
                                      Environment and Natural Resources Division
                                      U.S. Department of Justice


                                      s/ Arnold S. Rosenthal
                                      ARNOLD S. ROSENTHAL
                                      Senior Attorney
                                      Environmental Enforcement Section
                                      Environment and Natural Resources Division
                                      U.S. Department of Justice


                                      SHELESE EMMONS WOODS
                                      Civil Chief
                                      Office of the United States Attorney
                                      U.S. District Court for the Southern District of Indiana




                                                62
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 66 of 76 PageID #: 336




  Signature Page for United States of America and the State of Indiana v. Indianapolis Power &
  Light Company Consent Decree


  FOR THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY:



  DATE: August 18, 2020
                                      SUSAN PARKER BODINE
                                      Assistant Administrator
                                      Office of Enforcement and
                                       Compliance Assurance
                                      U.S. Environmental Protection Agency


                                      ROSEMARIE A. KELLEY
                                      Director
                                      Office of Civil Enforcement
                                      U.S. Environmental Protection Agency


                                      EVAN BELSER
                                      Acting Director, Air Enforcement Division
                                      U.S. Environmental Protection Agency


                                      SABRINA ARGENTIERI
                                      Attorney-Advisor
                                      Air Enforcement Division
                                      U.S. Environmental Protection Agency




                                                63
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 67 of 76 PageID #: 337




  Signature Page for United States of America and the State of Indiana v. Indianapolis Power &
  Light Company Consent Decree


  FOR THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY:



  DATE: August 20, 2020               _________________________________
                                      T. LEVERETT NELSON
                                      Regional Counsel
                                      U.S. Environmental Protection Agency – Region 5


                                      LOUISE GROSS
                                      Associate Regional Counsel
                                      U.S. Environmental Protection Agency – Region 5




                                                64
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 68 of 76 PageID #: 338




  Signature Page for United States of America and the State of Indiana v. Indianapolis Power &
  Light Company, Consent Decree


  FOR THE STATE OF INDIANA:



  DATE: August 21, 2020               OFFICE OF THE INDIANA ATTORNEY GENERAL

                                      ZACHARY D. PRICE
                                      KELLY S. EARLS
                                      Deputy Attorneys General


                                      s/Patricia Orloff Erdmann
                                      PATRICIA ORLOFF ERDMANN
                                      Chief Counsel for Litigation
                                      Office of the Indiana Attorney General
                                      302 W. Washington Street, IGCS 5th Floor
                                      Indianapolis, IN 46204


                                      s/Bruno L. Pigott
                                      BRUNO L. PIGOTT
                                      Commissioner
                                      Indiana Department of Environmental Management


                                      ELIZABETH A. ZLATOS
                                      Office of Legal Counsel
                                      Indiana Department of Environmental Management




                                                65
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 69 of 76 PageID #: 339
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 70 of 76 PageID #: 340




                                  APPENDICES
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 71 of 76 PageID #: 341




                 APPENDIX A: ENVIRONMENTAL MITIGATION PROJECT

 I.     Overall Schedule and Plan for Environmental Mitigation Project

        A.    Project Expenditures: Defendant shall spend $5,000,000 in Project Dollars
              (Project Dollars), and shall comply with the requirements of this Appendix and
              with Section XI (Environmental Mitigation Project) of the Consent Decree, to
              implement and secure the environmental benefits of the Environmental Mitigation
              Project (“Project”) that is described in Section II of this Appendix. Nothing in
              this Decree or this Appendix shall require Defendant to spend any more than a
              total of $5,000,000 on the Project.

        B.    Project Plan Submission: Within one hundred eighty (180) days of the Date of
              Entry, Defendant shall submit a proposed plan (“Project Plan”) for the Project
              specified in this Appendix to EPA for review and approval (with copy to IDEM)
              pursuant to Section XVII of the Consent Decree (Review and Approval of
              Submittals), for a Project in which IPL will construct and operate a system
              (System) that will be connected into the Petersburg Station auxiliary electrical
              system and that will provide a new, non-emitting source of power as set forth in
              Part II.A. below.

        C.    Project Plan Requirements: The proposed Project Plan shall include the following:
              1. A detailed proposal for the design of the Project;
              2. A detailed plan for implementing the Project;
              3. A summary-level budget for the Project;
              4. A time line for implementation of the Project; and
              5. A description of the anticipated environmental benefits of the Project
                 including an estimate of emission reductions (e.g., SO2, NOx, and PM)
                 expected to be realized.

        D.    EPA Approval of Project Plan: EPA (after consultation with IDEM) reserves the
              right to disapprove any Project should EPA determine, after an analysis of the
              Project Plan, that the Project does not conform to the requirements of Section XI
              and Appendix A of this Consent Decree.

        E.    Project Completion Schedule: Upon approval by EPA (after consultation with
              IDEM) of the Project Plan required by this Appendix, Defendant shall complete
              the approved Project according to the approved Project Plan. Nothing in the
              Consent Decree shall be interpreted to prohibit Defendant from completing the
              Project ahead of schedule.

        F.    Periodic Reporting: Commencing with its first periodic report due pursuant to
              Section XVI (Periodic Reporting) of the Decree, and continuing semi-annually
              thereafter until completion of the Project, Defendant shall include in the periodic
              report information describing the progress of the Project, including the Project
              Dollars expended on the Project to date.


                                                1
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 72 of 76 PageID #: 342




        G.     Request for EPA Approval of Project Completion: In accordance with the
               requirements of Paragraph 57 of the Decree, after Completion of the Project,
               Defendant shall submit to EPA, for review and approval in accordance with
               Section XVII of the Consent Decree (with copy to IDEM), a request for approval
               of Defendant’s Completion of the Project that documents:

               1. The date Defendant completed the Project;
               2. A demonstration that the Project has been installed and implemented as
                  designed in the approved Project Plan;
               3. The results of implementation of the Project, estimated emission reductions
                  and/or other environmental benefits expected to be achieved; and
               4. The Project Dollars expended by Defendant in implementing the
                  Project.

        H.     EPA Approval of Project Completion: If EPA (after consultation with IDEM)
               concludes based on the report documenting the Completion of the Project or
               subsequent information provided by Defendant that the Project has been
               performed and completed in accordance with the Decree, then EPA will approve
               Completion of the Project for purposes of the Decree.

        I.     Project Payment: Unless otherwise specified by this Appendix, Defendant at its
               election may spread its payment for the Project over the period specified in
               Section II.H of this Appendix. Defendant may also accelerate its payments to
               better effectuate a Project Plan, but Defendant shall not be entitled to any
               reduction in the nominal amount of the required payments by virtue of the early
               expenditures. Any funds designated for the Project that are left unspent, or are
               projected to be left unspent, at the Project's completion may be redirected by
               Defendant, following consultation with and approval by EPA (after consultation
               with IDEM) to another Project.

II.     Other Provisions

        A. Project Location, Capacity & Connectivity: Defendant shall install the System at the
           Petersburg Station. At its discretion, Defendant may choose to install some or all of
           the System on top of one or more of the ash ponds to be closed at the Petersburg
           Station, once the capping of the ash pond(s) to be used in the System at the
           Petersburg Station is completed. Any proposal for installing the System on one or
           more of the capped ash ponds must be in accordance with State closure and post-
           closure requirements and approved by IDEM prior to initiating construction. The
           System shall have a rated nameplate capacity of 3.0 MW. The System shall be
           connected into the Petersburg Station auxiliary electrical system (with sufficient
           monitoring to record both the real-time and cumulative AC power output of the
           System) in order to provide power for the internal Petersburg Station load.

        B.     Project Ownership, Operation, Maintenance & Term: Defendant shall own,
               operate and maintain the System to serve the internal load at the Petersburg

                                                2
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 73 of 76 PageID #: 343




              Station for not less than 10 years (as measured from the day that power is first
              provided from the System; the “Initial 10 Years”). This obligation to operate and
              maintain the System shall continue after Completion of the Project and survive
              Termination of the Consent Decree. Defendant shall continue to own, operate and
              maintain the System for up to a total of 25 Years from the day that power is first
              provided from the System (“25 Year Period”), so long as the Petersburg Station is
              operating (i.e., producing electricity from fossil fuel), in order to serve the internal
              load at the Station. If the Petersburg Station is retired (i.e., no longer operating)
              after the Initial 10 Years but prior to the end of the 25 Year Period, then Defendant
              may but shall not be required to continue to operate and maintain the System;
              provided, however, that if Defendant does not continue to operate and maintain
              the System, Defendant shall use good faith efforts to ensure that the System is
              connected to the grid and that ownership is transferred to a third party who would
              thereafter assume sole responsibility to operate and maintain the System to
              provide energy for the remainder of the 25 Year Period.

        C.    Project Design and Construction: Defendant may choose to design the System
              itself and may contract with third-party contractors to provide the System and
              construct the System.

        D.    Competitive Bidding: Defendant shall, to the extent reasonable, use competitive
              solicitation and bidding processes to secure product and services (excluding
              design and project management) related to the construction of the System.

        E.    Project Dollar Calculation: “Project Dollars” means IPL’s expenditures and
              payments incurred or made in carrying out the Project identified in this Appendix
              A to the extent that such expenditures or payments both: (a) comply with the
              requirements set forth in Section XI and Appendix A of this Consent Decree, and
              (b) constitute IPL’s direct payments for such Project, or IPL’s external costs for
              contractors, vendors, and equipment, provided, however, that for the purposes of
              calculating Project Dollars, Project Dollars shall exclude the cost of any Project
              studies or feasibility analysis, the cost associated with closing and/or capping any
              ash ponds, and any current or projected maintenance or third-party management
              costs once the Project is connected to the Petersburg Station’s auxiliary electrical
              system. In addition, Project Dollars shall reflect the difference between
              Defendant’s cost in implementing the Project and any projected economic benefit
              to Defendant resulting from the sale of electricity and any savings from reduced
              fuel usage due to performance of the System for the duration of the Initial 10
              Years, or during the 25 Year Period if Defendant continues to own and operate the
              System.

        F.    Use of RECs : The Project shall be in addition to any other legal obligations,
              including Defendant’s obligations under any state Renewable Portfolio Standard
              (“RPS”). Defendant shall keep and will retire any Renewable Energy Credits or
              Renewable Resource Credits (collectively RECs) generated by the System during
              the Initial 10 Years, or during the 25 Year Period if Defendant continues to own

                                                 3
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 74 of 76 PageID #: 344




              and operate the System. At no time during the Initial 10 Years, or during the 25
              Year Period if Defendant continues to own and operate the System, shall the
              environmental attributes from this System be available for, sold to, used for or
              claimed by consumers in the voluntary market.

        G.    Use of RECs After Initial 10 Years: Following the Initial 10 Years, or following
              the 25 Year Period during which Defendant continues to own and operate the
              System, Defendant will no longer be bound by the terms governing the
              Environmental Mitigation Project identified in Section XI of the Consent Decree
              and this Appendix, including but not limited to limitations on the use of RECs.
              RECs generated following the Initial 10 Years, or following the 25 Year Period
              during which Defendant continues to own and operate the System, may be used
              for any purpose authorized by law, including but not limited to satisfying
              regulatory requirements under any RPS standard or selling RECs for any purpose.

        H.    Completion of the Project Deadline: Defendant shall achieve Completion of the
              Project no later than five years from the date EPA approves the Project Plan.

        I.    Satisfaction of Defendant’s Obligations: Once EPA (after consultation with
              IDEM) approves the report documenting Completion of the Project, Defendant
              shall have satisfied its obligation to implement the Environmental Mitigation
              Project under Section XI of the Decree, but Defendant’s obligation to operate and
              maintain the System shall continue as provided in Section II.B of this Appendix




                                               4
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 75 of 76 PageID #: 345




                                            APPENDIX B:
               STATE-ONLY ENVIRONMENTALLY BENEFICIAL PROJECT
         IPL shall comply with the requirements of this Appendix in fulfilling its obligations
  under Section XIV of the Consent Decree with regard to the State-Only Environmentally
  Beneficial Project (Project).
    I.   Project Purpose and Benefits

         A.      IDEM proposes this Project in response to concerns raised over the years by
                 residents in the proximity of the IPL Petersburg Station about potential deforestation
                 and the lack of restoration and/or preservation of ecologically significant parcels of
                 land in the area (Ecologically Significant Lands). Such Ecologically Significant
                 Lands, which border or are contiguous to the Patoka National Wildlife Refuge
                 (Wildlife Refuge) include hundreds of acres of prior-converted farmland, upland
                 forests, and bottomland forested wetlands. In addition, some of the surrounding area
                 includes land previously used for mining and farming that could greatly benefit from
                 ecological restoration. Much of the Ecologically Significant Lands is owned by
                 willing sellers. Acquiring one or more of the Ecologically Significant Lands and
                 donating it (or them) to the Wildlife Refuge will result in much needed ecological
                 preservation and restoration of such lands and would be in accordance with the 15-
                 year Wildlife Refuge Habitat Management Plan, which includes planting of native
                 trees on acquired farmed wetlands as well as planting native grasses and wildflower
                 forbs on acquired reclaimed mine-land upland farm fields.

         B.      IDEM has determined that restoration and preservation of the Ecologically
                 Significant Lands, in accordance with the 15-year Wildlife Refuge Habitat
                 Management Plan, will help ameliorate and restore past detrimental effects to plant
                 life and vegetation in the vicinity that can be attributed to high levels of sulfur
                 dioxide, ozone and PM 2.5 emissions. IDEM has further determined that the Project
                 will help to prevent soil, nutrient and chemical runoff from agricultural use that can
                 be deleterious to water quality not only in local adjacent creeks and the Patoka River
                 but, because they ultimately flow into the Wabash River, the Wabash River as well.
                 Therefore, the Project will likely reduce Indiana’s contribution to Gulf of Mexico
                 hypoxia. In addition to the obvious aesthetic benefits, restoration and preservation of
                 the Ecologically Significant Lands is expected to benefit grassland nesting birds and
                 pollinator insects such as the monarch butterfly. Additionally, the acquisition of
                 existing forest land by the Wildlife Refuge will prevent the possibility of
                 deforestation due to the sale of trees for timber harvest.

   II.   Project Requirements

          IPL shall spend at least, but shall have no obligation to spend more than, $325,000 in
  Project Dollars (as defined in this Appendix B) on the following Project:

         A.      Within 180 days from the Date of Entry, IPL, in consultation with Andrew Stinchfield
                 or other designee of the IDEM Southwest Regional Office, shall commence
Case 3:20-cv-00202-RLY-MPB Document 20 Filed 03/23/21 Page 76 of 76 PageID #: 346




              development of a plan (the Project Plan) for the acquisition and donation of one or
              more Ecologically Significant Lands bordering or contiguous to the Patoka National
              Wildlife Refuge.

        B.    The Project Plan shall:

               1. to the extent practicable, prioritize land acquisition activity to qualifying tracts that
                  are in closest proximity to the IPL Petersburg Station and are of the greatest
                  ecological significance;
               2. provide that all land acquisition shall include the transfer of title of the qualifying
                  tracts by means of donation for preservation of the land in perpetuity; provided
                  that IPL shall not be required to become an owner of the land but may assign a
                  purchase agreement for the property or may allow a nominee to acquire title and
                  then convey the land;
               3. list the projected costs of acquiring and donating the land tracts (including
                  administrative costs); and
               4. include a method and manner for the tracking of funds spent on land acquisition
                  that lists the location and number of the acres purchased and the type of land tracts
                  acquired for donation.

        C.    The Project Plan may also allow a portion of Project Dollars that are spent for the
              purpose of land acquisition to be used to help fund restoration of the donated land,
              following consultation with and approval by IDEM. Such restoration may include, but
              is not limited to, reforestation or revegetation (using only plants native to the area)
              and/or removal of non-native, invasive plant species.

        D.    Within 240 days of commencing development of the Project Plan, IPL shall submit the
              plan to IDEM for its review and concurrence that IPL has complied with the
              requirements of Paragraph B above. Following concurrence, IDEM will oversee the
              plan to ensure that acquisition of the Environmentally Significant Lands will be
              undertaken in accordance with any and all requirements of the U.S. Fish and Wildlife
              Service, which has agreed to cooperate and consult on IPL’s development and
              implementation of the Plan and IDEM’s oversight of the Project.

        E.    Project Dollars include all external costs incurred by IPL to acquire and donate
              Ecologically Significant Lands, including the purchase price of the property, costs of
              appraisal, title search and insurance, recording fees and associated costs of closing, and
              to fund restoration of such Lands, if approved by IDEM under Section II.C. of this
              Appendix.

        F.    Project Dollars shall be expended within four years of Consent Decree entry, unless an
              extension is provided by IDEM.

        G.    IPL shall prepare a Project Completion Report according to the timeline and
              requirements in Section XIV of the Consent Decree.


                                                   2
